 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 DISTRICT OF KANSAS
                                                                                                                      Check if this is an
 Case number (if known):                                     Chapter       11                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Continental American Corporation

2.   All other names debtor used       dba Pioneer Balloon Company
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           4      8      –      0      8        6    2         7   9      8

4.   Debtor's address                  Principal place of business                                      Mailing address, if different from principal
                                                                                                        place of business

                                       5000 E 29th Street N
                                       Number         Street                                            Number     Street


                                                                                                        P.O. Box



                                       Wichita                             KS       67220
                                       City                                State    ZIP Code            City                          State   ZIP Code


                                                                                                        Location of principal assets, if different
                                       SEDGWICK                                                         from principal place of business
                                       County

                                                                                                        Multiple locations
                                                                                                        Number     Street




                                                                                                        City                          State   ZIP Code

5.   Debtor's website (URL)            https://www.pioneerworldwide.com/

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 23-10938                       Doc# 1       Filed 09/22/23             Page 1 of 122
Debtor Continental American Corporation                                                  Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                              OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                              sheet, statement of operations, cash-flow statement, and federal income tax
                                                              return, or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
                            Case 23-10938               Doc# 1      Filed 09/22/23              Page 2 of 122
Debtor Continental American Corporation                                                   Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY

                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor Pioneer National Latex, Inc.                           Relationship Subsidiary
    affiliate of the debtor?
                                                   District Kansas                                             When           09/22/2023
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known TBD


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                             Case 23-10938            Doc# 1         Filed 09/22/23             Page 3 of 122
Debtor Continental American Corporation                                             Case number (if known)

12. Does the debtor own or              No
    have possession of any              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                needed.
    property that needs
                                             Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                  safety.
                                                  What is the hazard?

                                                  It needs to be physically secured or protected from the weather.

                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                  related assets or other options).

                                                  Other


                                             Where is the property?
                                                                          Number      Street




                                                                          City                                       State      ZIP Code

                                             Is the property insured?

                                                  No
                                                  Yes. Insurance agency

                                                          Contact name

                                                          Phone


              Statistical and adminstrative information
13. Debtor's estimation of         Check one:
    available funds                    Funds will be available for distribution to unsecured creditors.
                                       After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                       creditors.

14. Estimated number of                 1-49                              1,000-5,000                         25,001-50,000
    creditors                           50-99                             5,001-10,000                        50,001-100,000
                                        100-199                           10,001-25,000                       More than 100,000
                                        200-999

15. Estimated assets                    $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                        $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                        $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                        $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities               $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                        $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                        $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                        $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
                             Case 23-10938        Doc# 1          Filed 09/22/23          Page 4 of 122
Debtor Continental American Corporation                                                  Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 09/22/2023
                                                      MM / DD / YYYY



                                          X /s/ Daniel A. Flynn
                                              Signature of authorized representative of debtor
                                              Daniel A. Flynn
                                              Printed name
                                              Chief Executive Officer
                                              Title

18. Signature of attorney                X /s/ David Prelle Eron                                                  Date   09/22/2023
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            David Prelle Eron
                                            Printed name
                                            Prelle Eron & Bailey, P.A.
                                            Firm name
                                            301 N. Main St., Suite 2000
                                            Number          Street



                                            Wichita                                                    KS                 67202
                                            City                                                       State              ZIP Code


                                            (316) 262-5500                                             david@eronlaw.net
                                            Contact phone                                              Email address
                                            23429                                                      KS
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 5
                            Case 23-10938             Doc# 1         Filed 09/22/23             Page 5 of 122
 Fill in this information to identify the case:
 Debtor name          Continental American Corporation

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          CIBC Bank USA                                    subject to a lien                                 $3,760,625.00           $66,482,418.00

          Creditor's mailing address                       Business
          1200 Main St                                     Describe the lien
                                                           Agreement
                                                           Is the creditor an insider or related party?
          Kansas City                MO   64105                 No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.
1) CIBC Bank USA; 2) IBM Credit LLC; 3) Northstar Balloons; 4) Varilease Finance Inc EFT; 5) Veeam Payment Solutions; 6)
White Oak Commercial Finance LLC.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                             $14,451,309.86


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
                              Case 23-10938                Doc# 1       Filed 09/22/23           Page 6 of 122
Debtor       Continental American Corporation                                                Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         IBM Credit LLC                                      subject to a lien                                     $25,784.00         $66,482,418.00

         Creditor's mailing address                          Business
         One North Castle Drive                              Describe the lien
                                                             Agreement
                                                             Is the creditor an insider or related party?
         Armonk                     NY    10504                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1

 2.3     Creditor's name                                     Describe debtor's property that is
         Northstar Balloons                                  subject to a lien                                     $55,133.86              $10,000.00

         Creditor's mailing address                          Business
         17100 Medina Rd Ste 800                             Describe the lien
                                                             Agreement
                                                             Is the creditor an insider or related party?
         Minneapolis                MN    55447                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
                             Case 23-10938                   Doc# 1       Filed 09/22/23           Page 7 of 122
Debtor       Continental American Corporation                                                Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.4     Creditor's name                                     Describe debtor's property that is
         Varilease Finance Inc EFT                           subject to a lien                                 $2,914,767.00          $66,482,418.00

         Creditor's mailing address                          Business
         2800 E Cottonwood Pkwy 2nd Fl                       Describe the lien
                                                             Agreement
                                                             Is the creditor an insider or related party?
         Salt Lake City             UT    84121                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1

 2.5     Creditor's name                                     Describe debtor's property that is
         Veeam Payment Solutions                             subject to a lien                                       Unknown          $66,482,418.00

         Creditor's mailing address                          Business
         2330 I-30                                           Describe the lien
                                                             Agreement
                                                             Is the creditor an insider or related party?
         Mesquite                   TX    75150                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
                             Case 23-10938                   Doc# 1       Filed 09/22/23           Page 8 of 122
Debtor       Continental American Corporation                                                Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.6     Creditor's name                                     Describe debtor's property that is
         White Oak Commercial Finance LLC                    subject to a lien                                 $7,695,000.00          $66,482,418.00

         Creditor's mailing address                          Business
         1155 Avenue of the Americas                         Describe the lien
                                                             Agreement
                                                             Is the creditor an insider or related party?
         New York                   NY    10036                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
                             Case 23-10938                   Doc# 1       Filed 09/22/23           Page 9 of 122
Debtor       Continental American Corporation                                          Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         CIBC Bank USA                                                                 Line    2.1
         C/O CT Corporation
         4400 Easton Commons Way Ste 125


         Columbus                                     OH       43219


         Corporation Service Company                                                   Line    2.4
         PO Box 2576



         Springfield                                  IL       62708


         CT Corporation                                                                Line    2.1
         4400 Easton Commons Way Ste 125




         Columbus                                     OH       43219


         CT Corporation System                                                         Line    2.1
         330 N Brand Blvd Ste 700



         Glendale                                     CA       91203


         Dentons US LLP                                                                Line    2.1
         4520 Main St Ste 1100



         Kansas City                                  MO       64111


         IBM Corporation KS                                                            Line    2.2
         PO Box 679358



         Dallas                                       TX       75267-9358




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 5
                           Case 23-10938             Doc# 1         Filed 09/22/23            Page 10 of 122
Debtor       Continental American Corporation                               Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1 -- Continuation Page
         Name and address                                                  On which line in Part 1   Last 4 digits of
                                                                           did you enter the         account number
                                                                           related creditor?         for this entity
         Northstar Balloons                                                 Line    2.3
         17100 Medina Road Suite 800



         Plymouth                               MN    55317


         VFI ABS 2022-1 LLC                                                 Line    2.4
         2800 East Cottonwood Parkway 2nd Fl




         Salt Lake City                         UT    84121


         VFI KR SPE I LLC                                                   Line    2.4
         2800 East Cottonwood Parkway 2nd Fl



         Salt Lake City                         UT    84121




Official Form 206D            Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                       page 6
                          Case 23-10938         Doc# 1     Filed 09/22/23          Page 11 of 122
 Fill in this information to identify the case:
 Debtor              Continental American Corporation

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the               $1,235.00           $1,235.00
                                                                claim is: Check all that apply.
Alexis J Evans
                                                                    Contingent
1747 N Holland Ln                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Wichita                               KS      67212             Wages
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
100% Furloughed - 76 hours of vacation available



     2.2   Priority creditor's name and mailing address         As of the petition filing date, the              $19,166.82          $13,650.00
                                                                claim is: Check all that apply.
Anna K Flynn
                                                                    Contingent
1710 N Duckcross Cv                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Wichita                               KS      67206             Wages
Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp


Official Form 206E/F
                             Case 23-10938    Doc# 1 Filed 09/22/23 Page 12 of 122
                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1
Debtor       Continental American Corporation                                        Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim          Priority amount


  2.3     Priority creditor's name and mailing address      As of the petition filing date, the               $195,833.02       $13,650.00
                                                            claim is: Check all that apply.
Anthony Marrone
                                                                Contingent
336 Wings Circle                                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Sunrise Beach                      MO     65079             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp


  2.4     Priority creditor's name and mailing address      As of the petition filing date, the                  $540.00           $540.00
                                                            claim is: Check all that apply.
Arran Leach
                                                                Contingent
8510 E 29th St N                                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67226-2216        Employee Travel Expenses
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



  2.5     Priority creditor's name and mailing address      As of the petition filing date, the                $50,000.00       $13,650.00
                                                            claim is: Check all that apply.
Bruce Fraser
                                                                Contingent
79-71 Macpherson Street Unit 260                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Boston                             MA     02108             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 13 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                page 2
Debtor       Continental American Corporation                                        Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.6     Priority creditor's name and mailing address      As of the petition filing date, the               $1,290.96         $1,290.96
                                                            claim is: Check all that apply.
Crystal L Stilwell
                                                                Contingent
4431 Salem St                                                   Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67220-2310        Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
100% Furloughed



  2.7     Priority creditor's name and mailing address      As of the petition filing date, the          $1,000,000.00        $13,650.00
                                                            claim is: Check all that apply.
Dale Marsh
                                                                Contingent
12329 Marsh Pointe Road                                         Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Sarasota                           FL     34238             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



  2.8     Priority creditor's name and mailing address      As of the petition filing date, the          $1,000,000.00        $13,650.00
                                                            claim is: Check all that apply.
Daniel A Flynn
                                                                Contingent
1710 N Duckcross Cv                                             Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67206             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 14 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3
Debtor      Continental American Corporation                                         Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.9    Priority creditor's name and mailing address       As of the petition filing date, the               $3,009.77         $3,009.77
                                                            claim is: Check all that apply.
Debra J Davis
                                                                Contingent
8865 E Baseline Rd Apt 1335                                     Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Mesa                               AZ     85209             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Termed - vacation pay out through 10/20/2023



 2.10    Priority creditor's name and mailing address       As of the petition filing date, the                $416.67           $416.67
                                                            claim is: Check all that apply.
Delfina R Adair
                                                                Contingent
119 High St                                                     Unliquidated
                                                                Disputed

                                                            Basis for the claim:
El Dorado                          KS     67042-1633        Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Termed Employment 11/11/22


 2.11    Priority creditor's name and mailing address       As of the petition filing date, the               $9,686.00         $9,686.00
                                                            claim is: Check all that apply.
Empower
                                                                Contingent
PO Box 755                                                      Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Boston                             MA     02117-0755        Business Goods or Services
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Company Match




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 15 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 4
Debtor      Continental American Corporation                                         Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


 2.12    Priority creditor's name and mailing address       As of the petition filing date, the               $29,326.00       $29,326.00
                                                            claim is: Check all that apply.
Empower
                                                                Contingent
PO Box 755                                                      Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Boston                             MA     02117-0755        Business Goods or Services
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Employee Deductions


 2.13    Priority creditor's name and mailing address       As of the petition filing date, the                $1,627.68         $1,627.68
                                                            claim is: Check all that apply.
Empower
                                                                Contingent
PO Box 755                                                      Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Boston                             MA     02117-0755        Business Goods or Services
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Loans


 2.14    Priority creditor's name and mailing address       As of the petition filing date, the               $41,666.70       $13,650.00
                                                            claim is: Check all that apply.
H Wayne Roberts
                                                                Contingent
43 Balmoral Trail                                               Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Bozeman                            MT     59718             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 16 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                               page 5
Debtor       Continental American Corporation                                        Case number (if known)

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


 2.15     Priority creditor's name and mailing address      As of the petition filing date, the                  $0.00              $0.00
                                                            claim is: Check all that apply.
Internal Revenue Service
                                                                Contingent
PO Box 7346                                                     Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.16     Priority creditor's name and mailing address      As of the petition filing date, the               $8,525.00         $8,525.00
                                                            claim is: Check all that apply.
Jagbir S Dhillon
                                                                Contingent
5267 N Rock Spring St                                           Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67226             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
220 Hours of vacation


 2.17     Priority creditor's name and mailing address      As of the petition filing date, the          $1,000,000.00        $13,650.00
                                                            claim is: Check all that apply.
Joel Scott
                                                                Contingent
7601 Erie Ave                                                   Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Chanhassen                         MN     55317             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 17 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 6
Debtor       Continental American Corporation                                        Case number (if known)

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


 2.18     Priority creditor's name and mailing address      As of the petition filing date, the                  $0.00              $0.00
                                                            claim is: Check all that apply.
Kansas Department of Revenue
                                                                Contingent
Civil Tax Enforcement                                           Unliquidated
PO Box 12005                                                    Disputed

                                                            Basis for the claim:
Topeka                             KS     66601-3058        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.19     Priority creditor's name and mailing address      As of the petition filing date, the                $973.44           $973.44
                                                            claim is: Check all that apply.
Kyle Bayliff
                                                                Contingent
14100 E Sport of Kings Street                                   Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67230             Employee Travel Expenses
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )


 2.20     Priority creditor's name and mailing address      As of the petition filing date, the               $2,500.02         $2,500.02
                                                            claim is: Check all that apply.
Mary Hinsperger
                                                                Contingent
5 Emerald Dr                                                    Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Eustis                             FL     32726             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 18 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 7
Debtor       Continental American Corporation                                        Case number (if known)

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


 2.21     Priority creditor's name and mailing address      As of the petition filing date, the               $43,333.68       $13,650.00
                                                            claim is: Check all that apply.
Nancy Hadaway
                                                                Contingent
2002 Cedar Ridge Pl                                             Unliquidated
                                                                Disputed

                                                            Basis for the claim:
The Villages                       FL     32162-7716        Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp


 2.22     Priority creditor's name and mailing address      As of the petition filing date, the                 $446.00           $446.00
                                                            claim is: Check all that apply.
Nolan Collins
                                                                Contingent
6406 E 11th Street N                                            Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67206             Employee Travel Expenses
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.23     Priority creditor's name and mailing address      As of the petition filing date, the                $4,166.70         $4,166.70
                                                            claim is: Check all that apply.
Norma Roberts
                                                                Contingent
43 Balmoral Trail                                               Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Bozeman                            MT     59718             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 19 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                               page 8
Debtor      Continental American Corporation                                         Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim          Priority amount


 2.24    Priority creditor's name and mailing address       As of the petition filing date, the               $500,000.00       $13,650.00
                                                            claim is: Check all that apply.
Randy Smith
                                                                Contingent
1306 SW Logos Dr                                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Lees Summit                        MO     64081-2304        Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.25    Priority creditor's name and mailing address       As of the petition filing date, the               $491,666.66       $13,650.00
                                                            claim is: Check all that apply.
Renne Fink
                                                                Contingent
4106 Gloria Lane                                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Bethlehem                          PA     18017             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp - Jim Fink (Deceased)


 2.26    Priority creditor's name and mailing address       As of the petition filing date, the                 $7,817.31         $7,817.31
                                                            claim is: Check all that apply.
Soo Chin Goo
                                                                Contingent
70 BK 5/12 Bandar Kinrara                                       Unliquidated
Puchong                                                         Disputed
Selangor 47180
                                                            Basis for the claim:
                                                            Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Contract Employee




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 20 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                page 9
Debtor       Continental American Corporation                                        Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


 2.27     Priority creditor's name and mailing address      As of the petition filing date, the                $7,492.19         $7,492.19
                                                            claim is: Check all that apply.
Stanley D Weir
                                                                Contingent
14514 W Sheriac Cir                                             Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67235             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
100% Furloughed



 2.28     Priority creditor's name and mailing address      As of the petition filing date, the               $50,000.00       $13,650.00
                                                            claim is: Check all that apply.
Susan Bastin Facklam
                                                                Contingent
950 Fontana Lane                                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Linn Creek                         MO     65052             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp


 2.29     Priority creditor's name and mailing address      As of the petition filing date, the                $7,381.00         $7,381.00
                                                            claim is: Check all that apply.
Susan D Dhillon
                                                                Contingent
5267 N Rock Spring St                                           Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67226             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Last day 09/22/23-176 hours vacation




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 21 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                             page 10
Debtor       Continental American Corporation                                        Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim          Priority amount


 2.30     Priority creditor's name and mailing address      As of the petition filing date, the                $16,946.10       $13,650.00
                                                            claim is: Check all that apply.
Ted J Vlamis
                                                                Contingent
6 N Brookfield Rd                                               Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67206-2005        Employee Travel Expenses
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Employee Travel Expenses


 2.31     Priority creditor's name and mailing address      As of the petition filing date, the               $500,000.00       $13,650.00
                                                            claim is: Check all that apply.
Ted J Vlamis
                                                                Contingent
6 N Brookfield Rd                                               Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67206-2005        Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp


 2.32     Priority creditor's name and mailing address      As of the petition filing date, the                 $7,500.00             $0.00
                                                            claim is: Check all that apply.
Thampi P M
                                                                Contingent
2 B Marthas Place 5th Cross                                     Unliquidated
5B Lavelle Road                                                 Disputed
Bangalore 560 001
                                                            Basis for the claim:
                                                            Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Contract Employee




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 22 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 11
Debtor       Continental American Corporation                                        Case number (if known)

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim          Priority amount


 2.33     Priority creditor's name and mailing address      As of the petition filing date, the                  $119.88           $119.88
                                                            claim is: Check all that apply.
Theodore William Vlamis
                                                                Contingent
5230 E 29th St N                                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Wichita                            KS     67220             Employee Travel Expenses
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )



 2.34     Priority creditor's name and mailing address      As of the petition filing date, the               $250,000.00       $13,650.00
                                                            claim is: Check all that apply.
Tim A Vlamis
                                                                Contingent
8315 NW Hillside Drive                                          Unliquidated
                                                                Disputed

                                                            Basis for the claim:
Kansas City                        MO     64152             Wages
Date or dates debt was incurred
                                                            Is the claim subject to offset?
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 4   )
Deferred Comp




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 23 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 12
Debtor        Continental American Corporation                                         Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $837.20
                                                                   Check all that apply.
1000Bulbscom                                                           Contingent
2140 Merritt Dr                                                        Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Garland                                  TX      75041             Business Goods or Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $5,358.55
                                                                   Check all that apply.
ACC Business                                                           Contingent
PO Box 5077                                                            Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Carol Stream                             IL      60197-5077        Business Goods or Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $20,629.82
                                                                   Check all that apply.
Acme Dock Specialist Inc                                               Contingent
PO Box 414230                                                          Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Kansas City                              MO      64141-4230        Business Goods or Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $20,895.00
                                                                   Check all that apply.
Acquia Inc                                                             Contingent
PO Box 674660                                                          Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Dallas                                   TX      75267-4660        Business Goods or Services

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F
                            Case 23-10938    Doc# 1 Filed 09/22/23 Page 24 of 122
                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                page 13
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

   3.5     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,133.83
                                                               Check all that apply.
ADT dba Protection One                                             Contingent
PO Box 219044                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO     64121-9044       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


   3.6     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $82,162.00
                                                               Check all that apply.
Advanced Sustainable Polymers Pte Ltd                              Contingent
3 Shenton Way                                                      Unliquidated
                                                                   Disputed
#15-01 Shenton House
Singapore 068805                                               Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


   3.7     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $593.43
                                                               Check all that apply.
Airco Gases Southwest LLC                                          Contingent
dba Big 3 Gas and Supply                                           Unliquidated
                                                                   Disputed
Allied Welding Welders Warehouse Corp
3880 Irving Blvd                                               Basis for the claim:
Dallas                                 TX     75247            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


   3.8     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $19,857.09
                                                               Check all that apply.
Alecom Metal Works Inc                                             Contingent
3301 House Anderson Rd                                             Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Euless                                 TX     76040            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 25 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 14
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

   3.9     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $83,491.00
                                                               Check all that apply.
American Color Technology LLC                                      Contingent
908 NW Vesper St                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Blue Springs                           MO     64015            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.10     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $250,000.00
                                                               Check all that apply.
American Express                                                   Contingent
PO Box 650448                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75265-0448       Credit Card

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.11     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Ametek                                                             Contingent
Box #2751                                                          Unliquidated
                                                                   Disputed
PO Box 8500
                                                               Basis for the claim:
Philadelphia                           PA     19178            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.12     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $12,743.80
                                                               Check all that apply.
Anagram International Inc                                          Contingent
7700 Anagram Dr                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Eden Prairie                           MN     55344            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 26 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 15
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.13     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $400,000.00
                                                               Check all that apply.
Angsana Investments                                                Contingent
17A Trevose Crescent                                               Unliquidated
                                                                   Disputed
Singapore 298094
                                                               Basis for the claim:
                                                               Loan

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.14     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $15,313.93
                                                               Check all that apply.
Aramark Uniform                                                    Contingent
26792 Network Pl                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60673-1792       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.15     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $970.00
                                                               Check all that apply.
Armstrong                                                          Contingent
PO Box 37749                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Philadelphia                           PA     19101-5049       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.16     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $64,135.87
                                                               Check all that apply.
ASI-Advertising Specialty                                          Contingent
PO Box 15017                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wilmington                             DE     19886-5017       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 27 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 16
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.17     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,025.00
                                                               Check all that apply.
Assured Occupational Solutions                                     Contingent
PO Box 783                                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.18     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,821.00
                                                               Check all that apply.
AT & T                                                             Contingent
PO Box 5019                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Carol Stream                           IL     60197-5019       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.19     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,935.00
                                                               Check all that apply.
AT&T Mobility                                                      Contingent
PO Box 6416                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Carol Stream                           IL     60197-6416       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.20     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $52,621.10
                                                               Check all that apply.
Atmos Energy                                                       Contingent
PO Box 630872                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cincinnati                             OH     45263            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 28 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 17
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.21     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $58,682.00
                                                               Check all that apply.
Avient Corp                                                        Contingent
Box 223554                                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Pittsburgh                             PA     15251-3554       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.22     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,970.00
                                                               Check all that apply.
Bearco Inc                                                         Contingent
PO Box 560731                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75356            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.23     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $156,021.56
                                                               Check all that apply.
Bennett Packaging PBC                                              Contingent
PO Box 411145                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO     64141-1145       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.24     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $14,116.88
                                                               Check all that apply.
Berry Plastics                                                     Contingent
PO Box 633485                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cincinnati                             OH     45263-3485       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 29 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 18
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.25     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $21,700.00
                                                               Check all that apply.
Bestway International Inc                                          Contingent
10502 NW Ambassador Dr Ste 120                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO     64153            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.26     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,373.53
                                                               Check all that apply.
Bilwinco                                                           Contingent
555 Main St                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Racine                                 WI     53403            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.27     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $36,809.24
                                                               Check all that apply.
Blue Cross and Blue Shield                                         Contingent
1133 SW Topeka Blvd                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Topeka                                 KS     66629-0001       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.28     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,386.44
                                                               Check all that apply.
Boesen Plumb Elevator Solutions BPES                               Contingent
dba Schindler Elevator Corp                                        Unliquidated
                                                                   Disputed
PO Box 93050
                                                               Basis for the claim:
Chicago                                IL     60673-3050       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 30 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 19
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.29     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $10,778.30
                                                               Check all that apply.
Brecoflex Co LLC                                                   Contingent
222 Industrial Way W                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Eatontown                              NJ     07724            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.30     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Brenntag Mid-South Inc                                             Contingent
3796 Reliable Pkwy                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60686            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.31     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,985.00
                                                               Check all that apply.
Brenntag Southwest Inc                                             Contingent
1520 N Barwise                                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67214            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.32     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $12,500.00
                                                               Check all that apply.
Brown & Brown                                                      Contingent
BMO-88                                                             Unliquidated
                                                                   Disputed
PO Box 1414
                                                               Basis for the claim:
Minneapolis                            MN     55480-1414       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 31 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 20
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.33     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $8,600.00
                                                               Check all that apply.
BSI Group America Inc                                              Contingent
Dept CH 19307                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Palatine                               IL     60055-9307       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.34     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $90,673.70
                                                               Check all that apply.
Butler County Treasurer                                            Contingent
205 W Central Ave Ste 207                                          Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042-2106       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.35     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,855.00
                                                               Check all that apply.
C and V Manufacturing                                              Contingent
2349 Ft Worth St Ste C                                             Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Grand Prairie                          TX     75050            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.36     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $6,666.00
                                                               Check all that apply.
Calvary Industries Inc                                             Contingent
PO Box 713868                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cincinnati                             OH     45271-3868       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 32 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 21
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.37     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $199.00
                                                               Check all that apply.
CamSoft Corp                                                       Contingent
21445 Bundy Canyon Rd                                              Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wildomar                               CA     92595            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.38     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $28,000.00
                                                               Check all that apply.
Capitol Area Energy                                                Contingent
14141 W Hwy 290 Bldg 600                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Austin                                 TX     78737-9340       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.39     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $6,500.00
                                                               Check all that apply.
Carte Blanche (Bulldog)                                            Contingent
PO Box 500                                                         Unliquidated
                                                                   Disputed
Chichester PO20 2XZ
                                                               Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.40     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $44,195.00
                                                               Check all that apply.
CDW Direct LLC                                                     Contingent
PO Box 75723                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60675-5723       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 33 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 22
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.41     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,391.10
                                                               Check all that apply.
Central Power Systems & Services Inc                               Contingent
PO Box 877625                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO     64187-7625       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.42     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $97.00
                                                               Check all that apply.
Certified Laboratories                                             Contingent
PO Box 971269                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75397-1269       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.43     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $112,221.00
                                                               Check all that apply.
CIBC Bank USA                                                      Contingent
1200 Main St                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO     64105            Unsecured Loan

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
Unforgiven PPP Loan


  3.44     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,365.00
                                                               Check all that apply.
Cintas First Aid & Safety                                          Contingent
PO Box 631025                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cincinnati                             OH     45263-1025       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 34 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 23
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.45     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $807.53
                                                               Check all that apply.
Cirus Water Roaster Joes                                           Contingent
8225 W Irving                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67209            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.46     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $29,817.15
                                                               Check all that apply.
Citi Cards                                                         Contingent
PO Box 78045                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Phoenix                                AZ     85062-8045       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.47     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $39,302.54
                                                               Check all that apply.
City of Dallas Water                                               Contingent
City Hall 2D South                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75277            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.48     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
City of El Dorado                                                  Contingent
220 E 1st Ave                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 35 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 24
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.49     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,803.13
                                                               Check all that apply.
CK Power                                                           Contingent
1100 Research Blvd                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Saint Louis                            MO     63132            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.50     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,842.60
                                                               Check all that apply.
Claris International Inc                                           Contingent
5201 Patrick Henry Dr                                              Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Santa Clara                            CA     95054            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.51     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,058.50
                                                               Check all that apply.
Cleaver Brooks Sales                                               Contingent
1956 Singleton Blvd                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75212            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.52     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,349.80
                                                               Check all that apply.
Clik Clik Systems Inc                                              Contingent
218 Hachborn Rd                                                    Unliquidated
                                                                   Disputed
Brantford ON N35 7W5
                                                               Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 36 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                       page 25
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.53     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $26,915.68
                                                               Check all that apply.
Cloud Inventory                                                    Contingent
11101 Switzer Rd Ste 300                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Overland Park                          KS     66210            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.54     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,205.53
                                                               Check all that apply.
Cole Parmer Instrument PBC                                         Contingent
625 E Bunker Ct                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Vernon Hills                           IL     60061            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.55     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,416.08
                                                               Check all that apply.
Complete Supply Inc                                                Contingent
13821 Diplomat Dr                                                  Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75234            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.56     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $28,725.00
                                                               Check all that apply.
Concord Financial Advisors                                         Contingent
C/O Tom Jones                                                      Unliquidated
                                                                   Disputed
2543 Laurel Ln
                                                               Basis for the claim:
Wilmette                               IL     60091            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 37 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 26
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.57     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $467,000.00
                                                               Check all that apply.
Concord Financial Advisors                                         Contingent
C/O Tom Jones                                                      Unliquidated
                                                                   Disputed
2543 Laurel Ln
                                                               Basis for the claim:
Wilmette                               IL     60091            Loan

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.58     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,416.72
                                                               Check all that apply.
Concordia Int'l Forwarding Corp                                    Contingent
1155 W Devon Ste 600                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Itasca                                 IL     60143            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.59     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $121,193.69
                                                               Check all that apply.
Constellation DAL                                                  Contingent
1221 Lamar Suite 750                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Houston                                TX     77010            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.60     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $188,601.09
                                                               Check all that apply.
Constellation New Energy                                           Contingent
PO Box 5473                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Carol Stream                           IL     60197            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 38 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 27
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.61     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $6,417.68
                                                               Check all that apply.
Conversource                                                       Contingent
1510 Page Industrial Blvd                                          Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Saint Louis                            MO     63132            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.62     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $18,068.00
                                                               Check all that apply.
Conwin Carbonic Co                                                 Contingent
730 Salem St                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Glendale                               CA     91203            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.63     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $152,527.52
                                                               Check all that apply.
Corrie MacColl N America Inc                                       Contingent
150 Boush Street 8th Floor                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Norfolk                                VA     23510            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.64     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,900.00
                                                               Check all that apply.
Cowtown Express Logistics LLC                                      Contingent
PO Box 1077                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Tyler                                  TX     75710            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 39 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 28
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.65     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Cox Communications Kansas LLC                                      Contingent
PO Box 650957                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75265            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.66     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $32.16
                                                               Check all that apply.
Creative Balloon Wire                                              Contingent
Sino Centre                                                        Unliquidated
                                                                   Disputed
582-592 Nathan Rd - Rm 804
Kowloon                                                        Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.67     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $260.00
                                                               Check all that apply.
Creditsafe USA Inc                                                 Contingent
PO Box 789985                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Philadelphia                           PA     19178-9985       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.68     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,853.20
                                                               Check all that apply.
Crusader Chemical Co                                               Contingent
2227 Hollins Ferry Rd                                              Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Baltimore                              MD     21230            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 40 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 29
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.69     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $26,823.73
                                                               Check all that apply.
CSI Leasing Inc                                                    Contingent
9990 Old Olive Street Rd                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Saint Louis                            MO     63141            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.70     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,240.00
                                                               Check all that apply.
Dallas Steel Drums Inc                                             Contingent
2214 Singleton Blvd                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75212            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.71     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $54,817.96
                                                               Check all that apply.
de Elliotte Co Inc                                                 Contingent
201 Prairie Village Drive                                          Unliquidated
                                                                   Disputed
PO Box 10
                                                               Basis for the claim:
New Century                            KS     66031-0010       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.72     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,166.00
                                                               Check all that apply.
Dean E Norris Inc                                                  Contingent
PO Box 47719                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67201            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 41 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 30
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.73     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $8,000.00
                                                               Check all that apply.
DFW Landscaping Services                                           Contingent
2601 Iroquois St                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75212            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.74     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $21,758.30
                                                               Check all that apply.
Dischem International Inc                                          Contingent
4552 Strausser St NW                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
North Canton                           OH     44720            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.75     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $173,699.26
                                                               Check all that apply.
Disney Consumer Products                                           Contingent
Bank of America Lockbox Services                                   Unliquidated
                                                                   Disputed
PO Box 50735
                                                               Basis for the claim:
Los Angeles                            CA     90012            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.76     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $12,450.00
                                                               Check all that apply.
Disney Consumer Products-Canada Contract                           Contingent
500 S Buena Vista St                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Burbank                                CA     91521            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 42 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 31
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.77     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $6,940.00
                                                               Check all that apply.
Distributor Central LLC                                            Contingent
1200 Energy Center Dr                                              Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Gardner                                KS     66030            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.78     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,919.00
                                                               Check all that apply.
Do It                                                              Contingent
PO Box 592                                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
South Haven                            MI     49090            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.79     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,417.17
                                                               Check all that apply.
Donlevy Litho                                                      Contingent
PO Box 1298                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67201            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.80     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,671.39
                                                               Check all that apply.
Eagle Fluid Power Inc                                              Contingent
PO Box 1624                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Lees Summit                            MO     64063            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 43 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 32
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.81     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,891.00
                                                               Check all that apply.
Eagle National Steel Ltd                                           Contingent
540 Skyline Dr                                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Hutchins                               TX     75141            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.82     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $814.12
                                                               Check all that apply.
Eagle Sensors & Controls                                           Contingent
2967 Nationwide Pkwy Ste 1                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Brunswick                              OH     44212            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.83     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,792.24
                                                               Check all that apply.
Eagle Specialty                                                    Contingent
PO Box 5310                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Saint Louis                            MO     63115-9998       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.84     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $9,349.83
                                                               Check all that apply.
Earle M Jorgensen Company                                          Contingent
75 Remittance Dr Ste 6460                                          Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60675-6460       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 44 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 33
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.85     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,392.42
                                                               Check all that apply.
El Dorado Ace Hardware                                             Contingent
609 N Main                                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.86     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,914.00
                                                               Check all that apply.
El Dorado Correctional Facility                                    Contingent
PO Box 311                                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042-0311       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.87     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,150.19
                                                               Check all that apply.
Embassy Suites Dallas                                              Contingent
2727 N Stemmons Fwy                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75207            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.88     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $693,175.31
                                                               Check all that apply.
Emilys Bubble Plant                                                Contingent
5000 E 29th St North                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042            Intercompany liability

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 45 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 34
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.89     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $968.62
                                                               Check all that apply.
Endflex LLC                                                        Contingent
4760 NW 128 St                                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Opa Locka                              FL     33054            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.90     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $13,188.51
                                                               Check all that apply.
ENG USA                                                            Contingent
dba ENG USA                                                        Unliquidated
                                                                   Disputed
55 W Monrow St Ste 2575
                                                               Basis for the claim:
Chicago                                IL     60603            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.91     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,181.50
                                                               Check all that apply.
Equipment Depot of Dallas Inc                                      Contingent
PO Box 20187                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Waco                                   TX     76702-0187       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.92     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $13,593.00
                                                               Check all that apply.
Estes Express Lines                                                Contingent
PO Box 77003                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Minneapolis                            MN     55480-7703       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 46 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 35
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.93     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $9,520.00
                                                               Check all that apply.
Evergreen Pallet LLC                                               Contingent
CDS Business Services Newtek                                       Unliquidated
                                                                   Disputed
500 7th Ave
                                                               Basis for the claim:
New York                               NY     10018            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.94     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $186,502.38
                                                               Check all that apply.
Evergy                                                             Contingent
PO Box 219089                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO     64121-9089       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.95     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $851.00
                                                               Check all that apply.
Evoqua Water                                                       Contingent
4800 Northpoint Pkwy Ste 250                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Alpharetta                             GA     30022            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.96     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,872.00
                                                               Check all that apply.
Expeditors Int'l MCI                                               Contingent
10749 NW Ambassador Dr                                             Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO     64153            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 47 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 36
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.97     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,007.00
                                                               Check all that apply.
F H Interamerica LLC                                               Contingent
4430 Trade Center Blvd                                             Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Laredo                                 TX     78045            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.98     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,144.52
                                                               Check all that apply.
Farmer Brother Coffee                                              Contingent
PO Box 934237                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Atlanta                                GA     31193            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.99     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,801.92
                                                               Check all that apply.
Fastenal                                                           Contingent
2502 W Central                                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.100    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,381.00
                                                               Check all that apply.
FedEx                                                              Contingent
PO Box 94515                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Palatine                               IL     60094-4515       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 48 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 37
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.101    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $612.00
                                                               Check all that apply.
FedEx Freight East                                                 Contingent
Dept CH                                                            Unliquidated
                                                                   Disputed
PO Box 10306
                                                               Basis for the claim:
Palatine                               IL     60055-0306       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.102    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $6,851.00
                                                               Check all that apply.
Fernandez Hinojosa                                                 Contingent
14420 Maquila Loop                                                 Unliquidated
                                                                   Disputed
International Trade Center
                                                               Basis for the claim:
Laredo                                 TX     78045            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.103    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,855.00
                                                               Check all that apply.
Fire Protection Services Inc                                       Contingent
1117 N Santa Fe                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67214            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.104    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,958.15
                                                               Check all that apply.
Fisher Scientific                                                  Contingent
308 Ridgefield Ct                                                  Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Asheville                              NC     28806            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 49 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 38
Debtor        Continental American Corporation                                     Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.105    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,761.00
                                                               Check all that apply.
Five Star Mechanical Inc                                           Contingent
1707 S Hoover Rd                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67209            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.106    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $430.00
                                                               Check all that apply.
Fleet Fuels                                                        Contingent
3337 Hwy 160                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Independence                           KS     67301            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.107    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $27,079.88
                                                               Check all that apply.
Forte Products                                                     Contingent
1601 Airpark Dr                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Farmington                             MO     63640            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.108    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $529.00
                                                               Check all that apply.
Fujifilm                                                           Contingent
1101 W Cambridge Circle Dr                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            KS     66110-2914       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 50 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 39
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.109    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $10,200.00
                                                               Check all that apply.
Fusionbox                                                          Contingent
2031 Curtis St                                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Denver                                 CO     80205            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.110    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $108,449.95
                                                               Check all that apply.
Gabriel Group                                                      Contingent
dba Gabriel Group an OSG Co                                        Unliquidated
                                                                   Disputed
PO Box 1000
                                                               Basis for the claim:
Southeastern                           PA     19398-1000       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.111    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $745.00
                                                               Check all that apply.
Gage Machine Tool                                                  Contingent
10668 Widmer                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Lenexa                                 KS     66215            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.112    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,063.34
                                                               Check all that apply.
Giant Finishing Inc                                                Contingent
600 W Factory Rd                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Addison                                IL     60101            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 51 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 40
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.113    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $158,394.06
                                                               Check all that apply.
Glenroy Inc                                                        Contingent
PO Box 534                                                         Unliquidated
                                                                   Disputed
W158 N9332 Nor-X-Way
                                                               Basis for the claim:
Menomonee Falls                        WI     53051            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.114    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,175.00
                                                               Check all that apply.
Global Electronic Services Inc                                     Contingent
5325 Palmero Ct                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Buford                                 GA     30518            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.115    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $6,888.96
                                                               Check all that apply.
Global Equipment Co                                                Contingent
29833 Network Pl                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60673-1298       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.116    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $17,289.94
                                                               Check all that apply.
Grainger - ELD                                                     Contingent
1920 South West St                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67213-1108       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 52 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 41
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.117    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $82,361.91
                                                               Check all that apply.
Grainger DAL                                                       Contingent
Dept 802414508                                                     Unliquidated
                                                                   Disputed
PO Box 419267
                                                               Basis for the claim:
Kansas City                            MO     64141-6267       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.118    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,253.07
                                                               Check all that apply.
Green Pasture Lawn & Tree                                          Contingent
7766 SW River Valley Rd                                            Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Augusta                                KS     67010            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.119    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
GS1 US                                                             Contingent
Dept 781271                                                        Unliquidated
                                                                   Disputed
PO Box 78000
                                                               Basis for the claim:
Detroit                                MI     48278-1271       Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.120    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $7,260.00
                                                               Check all that apply.
GT Midwest                                                         Contingent
2202 South West Street                                             Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67213            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 53 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 42
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:        Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.121    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $207.08
                                                               Check all that apply.
GT Midwest Div of GT Sales                                         Contingent
P O Box 755                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67201-0755       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.122    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $6,928.40
                                                               Check all that apply.
GTT Communications Inc                                             Contingent
7900 Tysons One Place Ste 1450                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
McLean                                 VA     22102            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.123    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $40,703.78
                                                               Check all that apply.
Hartfiel Automation Inc                                            Contingent
8017 Flint St                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Overland Park                          KS     66214            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.124    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,152.82
                                                               Check all that apply.
Hawk Ridge Systems LLC                                             Contingent
575 Clyde Ave Ste 420                                              Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Mountain View                          CA     94043            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 54 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 43
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.125    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $35,356.76
                                                               Check all that apply.
HCL Technologies Ltd                                               Contingent
FAO: Kishan Jaiswal                                                Unliquidated
                                                                   Disputed
135 US Hwy 202-206
                                                               Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.126    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,998.75
                                                               Check all that apply.
Henry Unger Associates                                             Contingent
13867 Sunset Blvd                                                  Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Pacific Palisades                      CA     90272            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.127    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $64,099.00
                                                               Check all that apply.
Heubach Ltd                                                        Contingent
PO Box 416247                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Boston                                 MA     02241-6247       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.128    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $19,870.00
                                                               Check all that apply.
Hi Float                                                           Contingent
13025 Middletown Industrial Blvd                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Louisville                             KY     40223            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 55 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 44
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.129    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $25,740.00
                                                               Check all that apply.
Indigo America Inc                                                 Contingent
5555 Windward Pkwy                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Alpharetta                             GA     30004            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.130    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,175.00
                                                               Check all that apply.
Industrial Crating Inc                                             Contingent
PO Box 248                                                         Unliquidated
                                                                   Disputed
413 Front St
                                                               Basis for the claim:
Saint Paul                             KS     66771            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.131    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,498.75
                                                               Check all that apply.
Industrial Equipment                                               Contingent
PO Box 14790                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Houston                                TX     77221-4790       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.132    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $606.61
                                                               Check all that apply.
Industrial Repair Service                                          Contingent
2650 Business Dr                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cumming                                GA     30028            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 56 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 45
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.133    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,352.64
                                                               Check all that apply.
Inflatable Concepts                                                Contingent
13350 SW 131 St Unit 106                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Miami                                  FL     33186            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.134    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $222.40
                                                               Check all that apply.
Inflatable Concepts Joint Venture                                  Contingent
13350 SW 131 St Unit 106                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Miami                                  FL     33186            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.135    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $297,883.00
                                                               Check all that apply.
Inflatable Concepts Venture                                        Contingent
13350 SW 131 St Unit 106                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Miami                                  FL     33186            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.136    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,284.47
                                                               Check all that apply.
Interamerica Forwarding                                            Contingent
14420 Maquila Loop                                                 Unliquidated
                                                                   Disputed
International Trade Center
                                                               Basis for the claim:
Laredo                                 TX     78045            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 57 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 46
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.137    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,415.33
                                                               Check all that apply.
Interflex Laser Engravers                                          Contingent
175 Tradd St                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Spartanburg                            SC     29301            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.138    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $19,244.04
                                                               Check all that apply.
Intertek Testing Services                                          Contingent
2/F Garmet Centre                                                  Unliquidated
                                                                   Disputed
576 Castle Peak Rd
Kowloon                                                        Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.139    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $864.00
                                                               Check all that apply.
iSi (Integrated Solutions)                                         Contingent
215 S Laura                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67211            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.140    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $11,348.28
                                                               Check all that apply.
JHB Investments                                                    Contingent
PO Box 47                                                          Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 58 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 47
Debtor        Continental American Corporation                                     Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.141     Nonpriority creditor's name and mailing address    As of the petition filing date, the claim is:              $5,000.00
                                                               Check all that apply.
Jim Plutt                                                          Contingent
9622 Yukon Cir S                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Minneapolis                             MN     55438           Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.142     Nonpriority creditor's name and mailing address    As of the petition filing date, the claim is:              $1,810.00
                                                               Check all that apply.
John Hancock                                                       Contingent
PO Box 7247-0274                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Philadelphia                            PA     19170-0274      Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.143     Nonpriority creditor's name and mailing address    As of the petition filing date, the claim is:              $2,458.35
                                                               Check all that apply.
Johnson Controls                                                   Contingent
PO Box 371967                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Pittsburgh                              PA     15250-7967      Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.144     Nonpriority creditor's name and mailing address    As of the petition filing date, the claim is:             $15,000.00
                                                               Check all that apply.
K-Mitch LLC                                                        Contingent
2900 W 71st St                                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Prairie Village                         KS     66208           Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 59 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                       page 48
Debtor        Continental American Corporation                                     Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.145    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,655.43
                                                               Check all that apply.
Kansas Correctional Industries                                     Contingent
PO Box 2                                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Lansing                                KS     66043            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.146    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $946.01
                                                               Check all that apply.
Kansas Electric Inc                                                Contingent
1420 NW 36th                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Newton                                 KS     67114            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.147    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,411.73
                                                               Check all that apply.
Kansas Gas Service                                                 Contingent
PO Box 219046                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO     64121-9046       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.148    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $80,474.44
                                                               Check all that apply.
Kellfab Inc                                                        Contingent
1003 Treetop Trail Dr                                              Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Manchester                             MO     63021-7720       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 60 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 49
Debtor        Continental American Corporation                                     Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.149    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,500.00
                                                               Check all that apply.
KKSG & Associates Inc                                              Contingent
67 E Wilson Bridge Rd Ste201                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Columbus                               OH     43085            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.150    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Lease Finance Partners Inc                                         Contingent
4825 E Douglas Ste 400                                             Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67218            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.151    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,500.00
                                                               Check all that apply.
Liberty Pallets                                                    Contingent
dba Liberty Pallets Service                                        Unliquidated
                                                                   Disputed
PO Box 540353
                                                               Basis for the claim:
Dallas                                 TX     75354            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.152    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Liberty Ribbon & Packaging LLC                                     Contingent
PO Box 2480                                                        Unliquidated
                                                                   Disputed
1970 Old Cuthbert Rd #220
                                                               Basis for the claim:
Cherry Hill                            NJ     08034            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 61 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 50
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.153    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,146.77
                                                               Check all that apply.
Linde Gas & Equipment Inc                                          Contingent
dba Praxair                                                        Unliquidated
                                                                   Disputed
PO Box 120812 Dept 0812
                                                               Basis for the claim:
Dallas                                 TX     75312-0812       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.154    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $84,681.16
                                                               Check all that apply.
Marvel Entertainment                                               Contingent
500 S Buena Vista St                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Burbank                                CA     91521            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.155    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,288.10
                                                               Check all that apply.
Matheson Tri-Gas Inc                                               Contingent
Dept 3028                                                          Unliquidated
                                                                   Disputed
PO Box 123028
                                                               Basis for the claim:
Dallas                                 TX     75312            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.156    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $21,283.00
                                                               Check all that apply.
Maxs Breathe Easy                                                  Contingent
622 N Oil Hill Rd                                                  Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 62 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 51
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.157    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $35,613.22
                                                               Check all that apply.
McMaster Carr Supply                                               Contingent
PO Box 7690                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60680-7690       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.158    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $21,598.00
                                                               Check all that apply.
Midwest Single Source Inc                                          Contingent
PO Box 49380                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67201-9380       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.159    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,701.97
                                                               Check all that apply.
Mine Safety Appliances Co LLC                                      Contingent
1000 Cranberry Woods Dr                                            Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cranberry Township                     PA     16066            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.160    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,000.00
                                                               Check all that apply.
MKM Janitorial Services LLC                                        Contingent
2108 Blossom Ln                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Richardson                             TX     75081            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 63 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 52
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.161    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $91,989.00
                                                               Check all that apply.
Morris Packaging MN LLC                                            Contingent
17100 Medina Rd Ste 800                                            Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Minneapolis                            MN     55447            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.162    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $10,156.85
                                                               Check all that apply.
MSC Industrial Supply Co                                           Contingent
28551 Laura Court                                                  Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Elkhart                                IN     46517-1179       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.163    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $13,459.01
                                                               Check all that apply.
Mutual of Omaha                                                    Contingent
Payment Processing Ctr                                             Unliquidated
                                                                   Disputed
PO Box 2147
                                                               Basis for the claim:
Omaha                                  NE     68103-2147       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.164    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,000.00
                                                               Check all that apply.
NACM North Central                                                 Contingent
8441 Wayzata Blvd Ste 270                                          Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Minneapolis                            MN     55426            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 64 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 53
Debtor        Continental American Corporation                                     Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.165     Nonpriority creditor's name and mailing address    As of the petition filing date, the claim is:              $4,624.87
                                                               Check all that apply.
Nortech Graphics Inc                                               Contingent
14950 Industrial Park Dr                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Lead Hill                               AR     72644           Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.166     Nonpriority creditor's name and mailing address    As of the petition filing date, the claim is:            $356,317.00
                                                               Check all that apply.
Northstar Balloons                                                 Contingent
17100 Medina Rd Ste 800                                            Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Minneapolis                             MN     55447           Contract

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.167     Nonpriority creditor's name and mailing address    As of the petition filing date, the claim is:              $8,776.05
                                                               Check all that apply.
Northwestern Mutual                                                Contingent
PO Box 3009                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Milwaukee                               WI     53201-3009      Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.168     Nonpriority creditor's name and mailing address    As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
OEC Graphics                                                       Contingent
7630 S Quincy St                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Willowbrook                             IL     60527           Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                           Case 23-10938    Doc# 1 Filed 09/22/23 Page 65 of 122
                                     Schedule E/F: Creditors Who Have Unsecured Claims                                       page 54
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.169    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $26.00
                                                               Check all that apply.
Old Dominion                                                       Contingent
PO Box 841324                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75284-1324       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.170    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,019.60
                                                               Check all that apply.
Omya Specialty Materials Inc                                       Contingent
4605 Duke Dr Ste 700                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Mason                                  OH     45040            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.171    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,153.46
                                                               Check all that apply.
Online Labels LLC                                                  Contingent
2021 E Lake Mary Blvd                                              Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Sanford                                FL     32773            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.172    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $89,238.04
                                                               Check all that apply.
Oracle America                                                     Contingent
PO Box 203448                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75320-3448       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 66 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 55
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.173    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $104.00
                                                               Check all that apply.
Orkin                                                              Contingent
3601 NE Loop 820 Ste 100                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Fort Worth                             TX     76137            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.174    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,289.94
                                                               Check all that apply.
Orkin Pest Control                                                 Contingent
1555 E 2nd St N                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67214-4121       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.175    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $7,440.00
                                                               Check all that apply.
Orpalis                                                            Contingent
A PSPDFKit Co                                                      Unliquidated
                                                                   Disputed
Le Verdi 52 rue de Marclan
Muret France 31600                                             Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.176    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,566.48
                                                               Check all that apply.
Overhead Door Co                                                   Contingent
1901 E 119th St                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Olathe                                 KS     66061            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 67 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 56
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.177    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $7,472.45
                                                               Check all that apply.
Packaged Systems Inc                                               Contingent
PO Box 195787                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75219-5787       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.178    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Page Boiler Inc                                                    Contingent
PO Box 605                                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Nevada                                 TX     75173            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.179    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:          $1,453,015.00
                                                               Check all that apply.
Pioneer Automation Technologies LLC                                Contingent
1220 N Haverhill Rd                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
El Dorado                              KS     67042            Intercompany Loan

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.180    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,860.00
                                                               Check all that apply.
Plan Tech Inc                                                      Contingent
7031 Shaker Rd Box J                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Loudon                                 NH     03307            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 68 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 57
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.181    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,403.00
                                                               Check all that apply.
Polymount US LLC                                                   Contingent
126 W Bledsoe Rd                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Newnan                                 GA     30265            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.182    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $47,101.00
                                                               Check all that apply.
Premium Balloon                                                    Contingent
6935 Ridge Rd                                                      Unliquidated
                                                                   Disputed
PO Box 352
                                                               Basis for the claim:
Sharon Center                          OH     44274-0352       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.183    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $63,605.35
                                                               Check all that apply.
Prime Molding Technologies Inc                                     Contingent
3765 Investment Ln                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
West Palm Beach                        FL     33404            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.184    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,335.00
                                                               Check all that apply.
ProActive Work Health Services                                     Contingent
3141 Irving Blvd Ste 220                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75247            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 69 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 58
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.185    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,950.00
                                                               Check all that apply.
PromoCornercom                                                     Contingent
PO Box 505                                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Middleboro                             MA     02346-0505       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.186    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,553.00
                                                               Check all that apply.
Public Works & Utilities                                           Contingent
PO Box 2922                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67201-2922       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.187    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $25,428.98
                                                               Check all that apply.
Publication Printers Corp                                          Contingent
2001 S Platte River Dr                                             Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Denver                                 CO     80223            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.188    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,039.20
                                                               Check all that apply.
Pure Water Partners LLC                                            Contingent
PO Box 24445                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Seattle                                WA     98124-0445       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 70 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 59
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.189    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $10,289.74
                                                               Check all that apply.
Purvis Bearing Service                                             Contingent
PO Box 540757                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75354-0757       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.190    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,818.91
                                                               Check all that apply.
Pye Barker Fire & Safety LLC                                       Contingent
PO Box 714812                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cincinnati                             OH     45271-4812       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.191    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,703.02
                                                               Check all that apply.
Quadient Finance                                                   Contingent
dba Neofunds Total Funds                                           Unliquidated
                                                                   Disputed
PO Box 6813
                                                               Basis for the claim:
Carol Stream                           IL     60197-6813       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.192    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $23,141.32
                                                               Check all that apply.
Quality Compressor Mgmnt Inc                                       Contingent
c/o SS Brown Funding Inc                                           Unliquidated
                                                                   Disputed
PO Box 1267
                                                               Basis for the claim:
Mansfield                              TX     76063            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 71 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 60
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.193    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $22,304.00
                                                               Check all that apply.
Quality Extrusion Inc                                              Contingent
1904 Willow St                                                     Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Mankato                                MN     56001            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.194    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $17,570.00
                                                               Check all that apply.
R + L Carriers                                                     Contingent
PO Box 10020                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Port William                           OH     45164-2000       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.195    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,950.00
                                                               Check all that apply.
R + L Truckload Services                                           Contingent
BOA Lockbox 74008195                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60674-8195       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.196    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,073.00
                                                               Check all that apply.
Radwell International Inc                                          Contingent
1 Millennium Dr                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Willingboro                            NJ     08046-1000       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 72 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 61
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.197    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,482.45
                                                               Check all that apply.
Ramco Innovations Inc                                              Contingent
1207 Maple St                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
West Des Moines                        IA     50265            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.198    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,825.11
                                                               Check all that apply.
Renne Fink                                                         Contingent
3005 Brodhead Rd Ste 293                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Bethlehem                              PA     18017            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes
For James Fink - deceased


  3.199    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,540.00
                                                               Check all that apply.
Review Studio Inc                                                  Contingent
3 Place Ville Marie Ste 400                                        Unliquidated
                                                                   Disputed
Montreal H3B 2E3
                                                               Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.200    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,839.95
                                                               Check all that apply.
Road Runner Recycling Inc                                          Contingent
PO Box 6011                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Hermitage                              PA     16148            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 73 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 62
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.201    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $8,491.00
                                                               Check all that apply.
Rodriguez Printing                                                 Contingent
PO Box 224022                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75222            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.202    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,000.00
                                                               Check all that apply.
Ronald E Prater                                                    Contingent
dba PDC                                                            Unliquidated
                                                                   Disputed
16245 41st Ave NE
                                                               Basis for the claim:
Seattle                                WA     98155            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.203    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,028.63
                                                               Check all that apply.
Roto-Die Co Inc                                                    Contingent
800 Howerton Ln                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Eureka                                 MO     63025            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.204    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,042.57
                                                               Check all that apply.
RS Americas Inc                                                    Contingent
dba RS                                                             Unliquidated
                                                                   Disputed
7151 Jack Newell Blvd S
                                                               Basis for the claim:
Fort Worth                             TX     76118            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 74 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 63
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.205    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Rudolph Bros & Co                                                  Contingent
6550 Oley Speaks Way                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Canal Winchester                       OH     43110            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.206    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $57.00
                                                               Check all that apply.
Russell A Farrow                                                   Contingent
PO Box 441364                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Detroit                                MI     48244-1364       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.207    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $19,940.70
                                                               Check all that apply.
Safety-Kleen Corp                                                  Contingent
PO Box 975201                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75397            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.208    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
SAGE                                                               Contingent
16301 Quorum Drive                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Addison                                TX     75001            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 75 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 64
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.209    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $940.35
                                                               Check all that apply.
Sams Club                                                          Contingent
PO Box 530981                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Atlanta                                GA     30353-0981       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.210    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,200.00
                                                               Check all that apply.
Security Life of Denver                                            Contingent
5627 Innovation Way                                                Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60682-0056       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.211    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $90.00
                                                               Check all that apply.
Service Corporation of NACM                                        Contingent
8840 Columbia 100 Parkway                                          Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Columbia                               MD     21045            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.212    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,238.88
                                                               Check all that apply.
Shred-it Wichita                                                   Contingent
28883 Network Pl                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60673-1288       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 76 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 65
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.213    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $9,300.00
                                                               Check all that apply.
Silva Itamar                                                       Contingent
PioneerBalloon-South America Sales                                 Unliquidated
                                                                   Disputed
Rua Schilling 413 cj 301
Brattleboro VT 05302-001                                       Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.214    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $64,420.12
                                                               Check all that apply.
Sirius Computer Solutions Inc                                      Contingent
PO Box 911485                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75391-1485       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.215    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,566.27
                                                               Check all that apply.
Skarda Equipment Co                                                Contingent
PO Box 3568                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Omaha                                  NE     68103            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.216    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $53.00
                                                               Check all that apply.
SmarterCommerce                                                    Contingent
11455 SW 40th St Ste 144                                           Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Miami                                  FL     33165            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 77 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 66
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.217    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,227.12
                                                               Check all that apply.
Southwest Engineers                                                Contingent
PO Box 2499                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Slidell                                LA     70459            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.218    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,427.47
                                                               Check all that apply.
Spectra Colorants                                                  Contingent
228 Industrial Park Rd                                             Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Union                                  SC     29379            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.219    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $934.26
                                                               Check all that apply.
Spectrum                                                           Contingent
PO Box 60074                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
City of Industry                       CA     91716-0074       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.220    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $910.22
                                                               Check all that apply.
SPS Commerce                                                       Contingent
PO Box 205782                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75320-5782       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 78 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 67
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.221    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,152.95
                                                               Check all that apply.
SPX Flow US LLC                                                    Contingent
PO Box 277886                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Atlanta                                GA     30384            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.222    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $19,980.88
                                                               Check all that apply.
Staples Advantage                                                  Contingent
PO Box 660409                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75266-0409       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.223    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $162,137.39
                                                               Check all that apply.
Stinson LLP                                                        Contingent
PO Box 843052                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kansas City                            MO     64184-3052       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.224    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $3,160.92
                                                               Check all that apply.
Stuart Hose and Pipe Co                                            Contingent
2621 Irving Blvd                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75207            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 79 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 68
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.225    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,645.23
                                                               Check all that apply.
Studio Pets                                                        Contingent
Aalsmeerderweg 28-1                                                Unliquidated
                                                                   Disputed
Aalsmeer 1432CN
                                                               Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.226    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $430,719.51
                                                               Check all that apply.
Sudpack                                                            Contingent
Jagerstrabe 23                                                     Unliquidated
                                                                   Disputed
Ochsenhausen 88416
                                                               Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.227    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,534.00
                                                               Check all that apply.
Sun Chemical                                                       Contingent
5000 Spring Grove Ave                                              Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cincinnati                             OH     45232            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.228    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,370.53
                                                               Check all that apply.
Sunbelt Material Handling                                          Contingent
1617 Terre Colony Ct                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75212            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 80 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 69
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.229    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,014.77
                                                               Check all that apply.
Sunrise Oilfield Supply                                            Contingent
PO Box 3423                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67201            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.230    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:          $1,071,899.00
                                                               Check all that apply.
Takara Kosan Co Ltd                                                Contingent
3/F Farmstone Building                                             Unliquidated
                                                                   Disputed
5-27-4 OMORI-NISHI
Tokyo 143-0015                                                 Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.231    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $14,131.13
                                                               Check all that apply.
Takara Kosan Co Ltd                                                Contingent
3F/Farmstone Building                                              Unliquidated
                                                                   Disputed
5-27-4 OMORI-NISHI
Tokyo 143-0015                                                 Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.232    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,354.80
                                                               Check all that apply.
Team Viewer                                                        Contingent
PO Box 743135                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Atlanta                                GA     30374            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 81 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 70
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.233    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Technical Products Inc                                             Contingent
3500 Ridge Road                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cleveland                              OH     44102            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.234    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $17,289.94
                                                               Check all that apply.
Ted A Vlamis                                                       Contingent
901 Tara Ln                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67206            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.235    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:          $1,097,238.00
                                                               Check all that apply.
Ted and Betty Vlamis                                               Contingent
5000 E 29th St North                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67220            Loan

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.236    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,079.00
                                                               Check all that apply.
Teladoc Inc                                                        Contingent
PO Box 24004                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
New York                               NY     10087-4004       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 82 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 71
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.237    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $27,000.00
                                                               Check all that apply.
The Balloon Council                                                Contingent
c/o Daniel A Flynn                                                 Unliquidated
                                                                   Disputed
Pioneer Balloon Company
5000 E 29th Street N                                           Basis for the claim:
Wichita                                KS     67220            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.238    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $19,255.00
                                                               Check all that apply.
The Kish Company Inc                                               Contingent
PO Box 76158                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Cleveland                              OH     44101-4755       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.239    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,897.67
                                                               Check all that apply.
Theresa Stokes                                                     Contingent
dba Balloon Lady Houston                                           Unliquidated
                                                                   Disputed
2814 Hazy Hillside Ct
                                                               Basis for the claim:
Kingwood                               TX     77345-2222       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.240    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Tiarco                                                             Contingent
PO Box 281995                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Atlanta                                GA     30384            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 83 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 72
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.241    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Titan HQ                                                           Contingent
c/o Copperfasten Technologies                                      Unliquidated
                                                                   Disputed
1st Fl Mazars Pl
Salthill G H91 YFC2                                            Basis for the claim:
                                                               Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.242    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:            $121,293.59
                                                               Check all that apply.
TK Innovations Inc                                                 Contingent
PO Box 2792                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Kailua Kona                            HI     96745            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.243    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $84,997.00
                                                               Check all that apply.
Toray Plastics                                                     Contingent
Lockbox Operations #654034                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75265-4034       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.244    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $41,032.00
                                                               Check all that apply.
ToTex Corporation                                                  Contingent
International Division                                             Unliquidated
                                                                   Disputed
Fujibiru Shintoshinkan 4F
                                                               Basis for the claim:
                                                               Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 84 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 73
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.245    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $8,090.00
                                                               Check all that apply.
Transamerica Life Ins Co                                           Contingent
PO Box 653009                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75265-3009       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.246    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,000.00
                                                               Check all that apply.
Tru-B-Loons and Party Decor LLC                                    Contingent
dba Tru-B-Loons Event and Party Decor                              Unliquidated
                                                                   Disputed
18113 Kitchen House Ct
                                                               Basis for the claim:
Germantown                             MD     20874            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.247    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
TUV SUD                                                            Contingent
Shanghai Branch                                                    Unliquidated
                                                                   Disputed
No 1999 Du Hui Rd
Shanghai 20118                                                 Basis for the claim:
                                                               Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.248    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,763.00
                                                               Check all that apply.
Uline Shipping Supply                                              Contingent
PO Box 88741                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60680-1741       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 85 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 74
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.249    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,456.15
                                                               Check all that apply.
Underground Vaults & Storage                                       Contingent
PO Box 1723                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Hutchinson                             KS     67504-1723       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.250    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $10,232.00
                                                               Check all that apply.
UniFirst Corp                                                      Contingent
PO Box 650481                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75265-0481       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.251    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $353.08
                                                               Check all that apply.
United Parcel Service                                              Contingent
PO Box 809488                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60680-9488       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.252    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $638.38
                                                               Check all that apply.
United States Plastic Corp                                         Contingent
1390 Neubrecht Rd                                                  Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Lima                                   OH     45801            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 86 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 75
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.253    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $4,396.04
                                                               Check all that apply.
United Testing Systems                                             Contingent
40 McCullough Dr                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
New Castle                             DE     19720            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.254    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $27,170.18
                                                               Check all that apply.
Univar USA Inc                                                     Contingent
62190 Collections Center Dr                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60693            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.255    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $0.00
                                                               Check all that apply.
Univar USA Inc - ELD                                               Contingent
62190 Collections Center Dr                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60693            Notice Only

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.256    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $5,617.51
                                                               Check all that apply.
UPS Supply Chain Sol Inc                                           Contingent
PO Box 730900                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Dallas                                 TX     75373-0900       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 87 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 76
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.257    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $6,615.65
                                                               Check all that apply.
US Road Freight Express Inc                                        Contingent
PO Box 9070                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67277-0070       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.258    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $2,496.41
                                                               Check all that apply.
Verizon Wireless                                                   Contingent
PO Box 16810                                                       Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Newark                                 NJ     07101-6810       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.259    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $32,847.92
                                                               Check all that apply.
Viacom Media Networks                                              Contingent
1515 Broadway                                                      Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
New York                               NY     10036            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.260    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $8,549.56
                                                               Check all that apply.
Videojet Technologies Inc                                          Contingent
12113 Collection Center Dr                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Chicago                                IL     60693            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 88 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 77
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.261    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:          $6,961,187.00
                                                               Check all that apply.
Vlamis Enterprises LLC                                             Contingent
5000 E 29th St North                                               Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67220            Intercompany Loan

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.262    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,320.00
                                                               Check all that apply.
W D Cleaning Inc                                                   Contingent
501 E 69th St N                                                    Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67219            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.263    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,057.28
                                                               Check all that apply.
Waste Connections                                                  Contingent
Lone Star Inc                                                      Unliquidated
                                                                   Disputed
PO Box 679859
                                                               Basis for the claim:
Dallas                                 TX     75267-9859       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.264    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $426.30
                                                               Check all that apply.
WEX Health Inc                                                     Contingent
PO Box 9528                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Fargo                                  ND     58106-9528       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 89 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 78
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.265    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $30.00
                                                               Check all that apply.
Wichita Chapter of NACM                                            Contingent
200 S Ridge Road                                                   Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Hesston                                KS     67062            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.266    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                $260.00
                                                               Check all that apply.
Wichita Shredding LLC                                              Contingent
1930 N Ohio                                                        Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Wichita                                KS     67214            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.267    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $7,049.00
                                                               Check all that apply.
Windmoeller and Hoelscher                                          Contingent
23 New England Way                                                 Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Lincoln                                RI     02865            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.268    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,130.00
                                                               Check all that apply.
World Trade Council of Wichita                                     Contingent
CIBA Barton School of Business                                     Unliquidated
                                                                   Disputed
WSU Clinton Hall 034
                                                               Basis for the claim:
Wichita                                KS     67260-0088       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 90 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 79
Debtor       Continental American Corporation                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

  3.269    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $1,878.14
                                                               Check all that apply.
X-Rite Inc                                                         Contingent
Lockbox 62750                                                      Unliquidated
                                                                   Disputed
62750 Collection Center Dr
                                                               Basis for the claim:
Chicago                                IL     60693-0627       Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


  3.270    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $66,850.00
                                                               Check all that apply.
Younkin Logistics                                                  Contingent
PO Box 325                                                         Unliquidated
                                                                   Disputed

                                                               Basis for the claim:
Ashland                                OH     44805            Business Goods or Services

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




Official Form 206E/F
                          Case 23-10938    Doc# 1 Filed 09/22/23 Page 91 of 122
                                    Schedule E/F: Creditors Who Have Unsecured Claims                                        page 80
Debtor        Continental American Corporation                                             Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Northstar Balloons                                                    Line     3.166
         17100 Medina Road Suite 800                                                  Not listed. Explain:




         Plymouth                      MN      55317


4.2      Phifer Wire Products                                                  Line
         PO Box 945823                                                                Not listed. Explain:
                                                                                      Notice Only


         Atlanta                       GA      30394-5823


4.3      US Attorney Wichita                                                   Line      2.15
         1200 Epic Center                                                             Not listed. Explain:
         301 N Main


         Wichita                       KS      67202


4.4      US Attorney Wichita                                                   Line      3.43
         1200 Epic Center                                                             Not listed. Explain:
         301 N Main


         Wichita                       KS      67202


4.5      US Department of Agriculture                                          Line
         Office of the General Counsel                                                Not listed. Explain:
         PO Box 419205                                                                Notice Only
         Mail Stop 1401
         Kansas City                   MO      64141-6205


4.6      US Small Business Administration                                      Line      3.43
         District Counsel                                                             Not listed. Explain:
         10675 Bedford Ave Ste 100


         Omaha                         NE      68127




Official Form 206E/F
                            Case 23-10938    Doc# 1 Filed 09/22/23 Page 92 of 122
                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 81
Debtor       Continental American Corporation                           Case number (if known)

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                            related creditor (if any) listed?          account number,
                                                                                                       if any

4.7      Verizon Wireless                                   Line     3.258
         500 Technology Dr #550                                    Not listed. Explain:




         Saint Charles              MO   63304-2225


4.8      Wells Fargo Equipment Finance                      Line
         Equipment and Vendor Finance                              Not listed. Explain:
         PO Box 77101                                              Notice Only


         Minneapolis                MN   55480




Official Form 206E/F
                         Case 23-10938    Doc# 1 Filed 09/22/23 Page 93 of 122
                                   Schedule E/F: Creditors Who Have Unsecured Claims                             page 82
Debtor      Continental American Corporation                         Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                         Total of claim amounts

5a. Total claims from Part 1                                                     5a.            $5,252,666.60

5b. Total claims from Part 2                                                     5b. +         $18,046,618.17


5c. Total of Parts 1 and 2                                                       5c.           $23,299,284.77
    Lines 5a + 5b = 5c.




Official Form 206E/F
                         Case 23-10938    Doc# 1 Filed 09/22/23 Page 94 of 122
                                   Schedule E/F: Creditors Who Have Unsecured Claims                              page 83
 Fill in this information to identify the case:
 Debtor name         Continental American Corporation

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                  Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Konica printers                                 CIT Bank NA
          or lease is for and the       Contract to be ASSUMED                          10201 Centurion Parkway North
          nature of the debtor's
          interest                                                                      Suite 100

          State the term remaining
          List the contract
                                                                                       Jacksonville                        FL            32256
          number of any
          government contract

2.2       State what the contract       Forklifts lease                                 Crown Lift Trucks
          or lease is for and the       Contract to be ASSUMED                          4000 Scientific Dr
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                       Canadian                            TX            79014
          number of any
          government contract

2.3       State what the contract       Office equipment leases                         CSI Leasing Inc
          or lease is for and the       Contract to be ASSUMED                          9990 Old Olive Street Road
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Saint Louis                         MO            63141
          government contract

2.4       State what the contract       Commercial Equipment Rental                     De Lage Landen Financial Services Inc
          or lease is for and the       Contract to be ASSUMED                          1111 Old Eagle School Rd
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Wayne                               PA            19087
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                           Case 23-10938               Doc# 1        Filed 09/22/23           Page 95 of 122
Debtor       Continental American Corporation                                     Case number (if known)



          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.5       State what the contract      Commercial Equipment Lease               Digital Office Systems
          or lease is for and the      Contract to be ASSUMED                   530 S Hydraulic St
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                Wichita                         KS        67211
          number of any
          government contract

2.6       State what the contract      Product Licensing Agreement              Disney Consumer Products
          or lease is for and the      Contract to be ASSUMED                   Bank of America Lockbox Services
          nature of the debtor's
          interest                                                              File 50735

          State the term remaining
          List the contract
                                                                                Los Angeles                     CA        90012
          number of any
          government contract

2.7       State what the contract      Product licensing agreement              Disney Consumer Products-Canada Contract
          or lease is for and the      Contract to be ASSUMED                   500 S Buena Vista St
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                Burbank                         CA        91521
          government contract

2.8       State what the contract      Equipment lease/finance                  First Citizens Bank
          or lease is for and the      Contract to be ASSUMED                   21146 Network Pl
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                Chicago                         IL        60673-1211
          number of any
          government contract

2.9       State what the contract      Premises Lease                           Hillsdale Development
          or lease is for and the      Contract to be REJECTED                  PO Box 187
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                Ashland                         OH        44805
          number of any
          government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                     page 2
                           Case 23-10938           Doc# 1       Filed 09/22/23        Page 96 of 122
Debtor        Continental American Corporation                                     Case number (if known)



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.10       State what the contract      Forklift Leases                          HYG Financial Services Inc
           or lease is for and the      Contract to be ASSUMED                   PO Box 35701
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Billings                        MT        59107
           number of any
           government contract

2.11       State what the contract      Business contract                        Kansas Correctional Industries
           or lease is for and the      Contract to be ASSUMED                   PO Box 2
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Lansing                         KS        66043
           number of any
           government contract

2.12       State what the contract      Office equipment lease                   Lease Finance Partners Inc
           or lease is for and the      Contract to be ASSUMED                   PO Box 20140
           nature of the debtor's
           interest

           State the term remaining
           List the contract
           number of any
                                                                                 Wichita                         KS        67208-1140
           government contract

2.13       State what the contract      Product licensing agreement              Marvel Entertainment
           or lease is for and the      Contract to be ASSUMED                   500 S Buena Vista St
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Burbank                         CA        91521
           number of any
           government contract

2.14       State what the contract      Equipment lease                          Mobile Mini Inc
           or lease is for and the      Contract to be ASSUMED                   PO Box 79149
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Phoenix                         AZ        85062-9149
           number of any
           government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                     page 3
                            Case 23-10938           Doc# 1       Filed 09/22/23        Page 97 of 122
Debtor        Continental American Corporation                                     Case number (if known)



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.15       State what the contract      License Agreements                       Northstar Balloons
           or lease is for and the      Contract to be ASSUMED                   17100 Medina Rd Ste 800
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Minneapolis                     MN        55447
           number of any
           government contract

2.16       State what the contract      Office lease                             Palimoda Properties LLC
           or lease is for and the      Contract to be REJECTED                  PO Box 3414
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Easton                          PA        18043-3414
           number of any
           government contract

2.17       State what the contract      Freight contract                         Penske Truck Leasing Co LP
           or lease is for and the      Contract to be ASSUMED                   PO Box 802577
           nature of the debtor's
           interest

           State the term remaining
           List the contract
           number of any
                                                                                 Chicago                         IL        60680-2577
           government contract

2.18       State what the contract      Postage machine lease                    Pitney Bowes Global Financial Services
           or lease is for and the      Contract to be ASSUMED                   PO Box 981022
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Boston                          MA        02298
           number of any
           government contract

2.19       State what the contract      Business lease                           R & B Leasing
           or lease is for and the      Contract to be ASSUMED                   14631 SW Clover Ln
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Rose Hill                       KS        67133
           number of any
           government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                     page 4
                            Case 23-10938           Doc# 1       Filed 09/22/23        Page 98 of 122
Debtor        Continental American Corporation                                     Case number (if known)



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.20       State what the contract      Business lease                           ReadyRefresh by Nestle
           or lease is for and the      Contract to be ASSUMED                   a Div of Nestle Waters N America Inc
           nature of the debtor's
           interest                                                              PO Box 856192

           State the term remaining
           List the contract
                                                                                 Louisville                      KY        40285-6192
           number of any
           government contract

2.21       State what the contract      Licensing                                Veeam Payment Solutions
           or lease is for and the
                                                                                 2330 I-30
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Mesquite                        TX        75150
           number of any
           government contract

2.22       State what the contract      VFI KR SPE I LLC                         VFI KR SPE I LLC
           or lease is for and the      2800 East Cottonwood Parkway 2nd         2800 East Cottonwood Parkway 2nd Fl
           nature of the debtor's       Floor
           interest                     Salt Lake City, UT 84121

                                        Contract to be ASSUMED
           State the term remaining                                              Salt Lake City                  UT        84121
           List the contract
           number of any
           government contract

2.23       State what the contract      Nickolodeon licensing agreement          Viacom International Inc
           or lease is for and the      Contract to be ASSUMED                   1515 Broadway
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 New York                        NY        10036
           number of any
           government contract

2.24       State what the contract      Wichita Headquarters Lease               Vlamis Enterprises Wichita LLC
           or lease is for and the      Contract to be ASSUMED                   5000 E 29th St North
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Wichita                         KS        67220
           number of any
           government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                     page 5
                            Case 23-10938           Doc# 1       Filed 09/22/23        Page 99 of 122
Debtor        Continental American Corporation                                     Case number (if known)



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.25       State what the contract      Forklift leases                          Wells Fargo Bank NA
           or lease is for and the      Contract to be ASSUMED                   300 Tri State International Ste 400
           nature of the debtor's
           interest

           State the term remaining
           List the contract
                                                                                 Lincolnshire                    IL        60069
           number of any
           government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                     page 6
                           Case 23-10938           Doc# 1       Filed 09/22/23         Page 100 of 122
 Fill in this information to identify the case:
 Debtor name         Continental American Corporation

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Pioneer Automation              1220 N Haverhill Rd                                    White Oak Commercial                  D
       Technologies LLC                Number      Street                                     Finance LLC                           E/F
                                                                                                                                    G

                                       El Dorado                      KS      67042
                                       City                           State   ZIP Code


2.2    Pioneer National Latex          5000 E 29th St North                                   CIBC Bank USA                         D
       Inc                             Number      Street                                                                           E/F
                                                                                                                                    G

                                       Wichita                        KS      67220
                                       City                           State   ZIP Code


2.3    Pioneer National Latex          5000 E 29th St North                                   Varilease Finance Inc                 D
       Inc                             Number      Street                                     EFT                                   E/F
                                                                                                                                    G

                                       Wichita                        KS      67220
                                       City                           State   ZIP Code


2.4    Pioneer National Latex          5000 E 29th St North                                   White Oak Commercial                  D
       Inc                             Number      Street                                     Finance LLC                           E/F
                                                                                                                                    G

                                       Wichita                        KS      67220
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
                            Case 23-10938             Doc# 1         Filed 09/22/23           Page 101 of 122
Debtor       Continental American Corporation                                      Case number (if known)



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.5   Pioneer National Latex        5000 E 29th St North                              HYG Financial Services              D
      Inc                           Number     Street                                 Inc                                 E/F
                                                                                                                          G

                                    Wichita                     KS      67220
                                    City                        State   ZIP Code


2.6   Pioneer National Latex        5000 E 29th St North                              VFI KR SPE I LLC                    D
      Inc                           Number     Street                                                                     E/F
                                                                                                                          G

                                    Wichita                     KS      67220
                                    City                        State   ZIP Code


2.7   Vlamis Enterprises            5000 E 29th St North                              CIBC Bank USA                       D
      Wichita LLC                   Number     Street                                                                     E/F
                                                                                                                          G

                                    Wichita                     KS      67220
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 2
                         Case 23-10938            Doc# 1       Filed 09/22/23         Page 102 of 122
 Fill in this information to identify the case and this filing:
 Debtor Name         Continental American Corporation

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 09/22/2023                       X /s/ Daniel A. Flynn
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Daniel A. Flynn
                                                              Printed name
                                                              Chief Executive Officer
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
                            Case 23-10938             Doc# 1         Filed 09/22/23            Page 103 of 122
B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF KANSAS
                                                                   WICHITA DIVISION
In re Continental American Corporation                                                                                              Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                            $105,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                           $105,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                     Case 23-10938                        Doc# 1              Filed 09/22/23                    Page 104 of 122
B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   The fees listed and paid represent a retainer deposit, a portion of which was spent pre-filing, including on fees and
   costs. The deposit covers this case and the companion case for Pioneer National Latex, Inc. Fees are billed at the
   firm's standard hourly rates. All fees earned post-petition shall be subject to fee application. The engagement
   agreement between the firm and the debtor shall govern all fees and is available to the Court and U.S. Trustee's
   office upon request.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                   09/22/2023                        /s/ David Prelle Eron
                      Date                           David Prelle Eron                          Bar No. 23429
                                                     Prelle Eron & Bailey, P.A.
                                                     301 N. Main St., Suite 2000
                                                     Wichita, KS 67202
                                                     Phone: (316) 262-5500 / Fax: (316) 262-5559




  /s/ Daniel A. Flynn
  Daniel A. Flynn
  Chief Executive Officer




                        Case 23-10938          Doc# 1      Filed 09/22/23         Page 105 of 122
 Fill in this information to identify the case:
 Debtor name        Continental American Corporation

 United States Bankruptcy Court for the: DISTRICT OF KANSAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional          unliquidated,   secured, fill in total claim amount and
                               contact                 services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Dale Marsh                                         Wages                 Unliquidated                                     $1,000,000.00
    12329 Marsh Pointe
    Road
    Sarasota FL 34238



2   Randy Smith                                        Wages                                                                    $500,000.00
    1306 SW Logos Dr
    Lees Summit MO 64081-
    2304



3   Renne Fink                                         Wages                                                                    $491,666.66
    4106 Gloria Lane
    Bethlehem PA 18017




4   Concord Financial                                  Loan                  Unliquidated                                       $467,000.00
    Advisors
    C/O Tom Jones
    2543 Laurel Ln
    Wilmette IL 60091

5   Sudpack                                            Business Goods or                                                        $430,719.51
    Jagerstrabe 23                                     Services
    Ochsenhausen 88416




Official Form 204         Case1123-10938
                        Chapter                Doc#
                                or Chapter 9 Cases: List1    Filed 09/22/23
                                                        of Creditors               Page
                                                                     Who Have the 20      106
                                                                                     Largest    of 122Claims
                                                                                             Unsecured                                page 1
Debtor       Continental American Corporation                                  Case number (if known)
             Name


 Name of creditor and        Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing            number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip      address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                        creditor              professional          unliquidated,   secured, fill in total claim amount and
                             contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                   government                            calculate unsecured claim.
                                                   contracts)
                                                                                         Total           Deduction       Unsecured
                                                                                         claim, if       for value       claim
                                                                                         partially       of
                                                                                         secured         collateral
                                                                                                         or setoff
6   Angsana Investments                            Loan                  Unliquidated                                       $400,000.00
    17A Trevose Crescent
    Singapore 298094




7   Northstar Balloons                             Contract              Unliquidated                                       $356,317.00
    17100 Medina Rd Ste                                                  Disputed
    800
    Minneapolis MN 55447



8   Inflatable Concepts                            Business Goods or                                                        $297,883.00
    Venture                                        Services
    13350 SW 131 St Unit
    106
    Miami FL 33186

9   American Express                               Credit Card           Unliquidated                                       $250,000.00
    PO Box 650448
    Dallas TX 75265-0448




10 Anthony Marrone                                 Wages                                                                    $195,833.02
   336 Wings Circle
   Sunrise Beach MO
   65079



11 Constellation New                               Business Goods or                                                        $188,601.09
   Energy                                          Services
   PO Box 5473
   Carol Stream IL 60197



12 Evergy                                          Business Goods or                                                        $186,502.38
   PO Box 219089                                   Services
   Kansas City MO 64121-
   9089



13 Disney Consumer                                 Business Goods or                                                        $173,699.26
   Products                                        Services
   Bank of America
   Lockbox Services
   PO Box 50735
   Los Angeles CA 90012



Official Form 204       Case1123-10938
                      Chapter                Doc#
                              or Chapter 9 Cases: List1    Filed 09/22/23
                                                      of Creditors               Page
                                                                   Who Have the 20      107
                                                                                   Largest    of 122Claims
                                                                                           Unsecured                              page 2
Debtor       Continental American Corporation                                  Case number (if known)
             Name


 Name of creditor and         Name, telephone      Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email    (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of           debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor             professional          unliquidated,   secured, fill in total claim amount and
                              contact              services, and         or disputed     deduction for value of collateral or setoff to
                                                   government                            calculate unsecured claim.
                                                   contracts)
                                                                                         Total           Deduction       Unsecured
                                                                                         claim, if       for value       claim
                                                                                         partially       of
                                                                                         secured         collateral
                                                                                                         or setoff
14 Stinson LLP                                     Business Goods or                                                        $162,137.39
   PO Box 843052                                   Services
   Kansas City MO 64184-
   3052



15 Glenroy Inc                                     Business Goods or                                                        $158,394.06
   PO Box 534                                      Services
   W158 N9332 Nor-X-Way
   Menomonee Falls WI
   53051

16 Bennett Packaging PBC                           Business Goods or                                                        $156,021.56
   PO Box 411145                                   Services
   Kansas City MO 64141-
   1145



17 Corrie MacColl N America                        Business Goods or     Unliquidated                                       $152,527.52
   Inc                                             Services
   150 Boush Street 8th
   Floor
   Norfolk VA 23510

18 TK Innovations Inc                              Business Goods or                                                        $121,293.59
   PO Box 2792                                     Services
   Kailua Kona HI 96745




19 Constellation DAL                               Business Goods or                                                        $121,193.69
   1221 Lamar Suite 750                            Services
   Houston TX 77010




20 CIBC Bank USA                                   Unsecured Loan        Unliquidated                                       $112,221.00
   1200 Main St
   Kansas City MO 64105




Official Form 204       Case1123-10938
                      Chapter                Doc#
                              or Chapter 9 Cases: List1    Filed 09/22/23
                                                      of Creditors               Page
                                                                   Who Have the 20      108
                                                                                   Largest    of 122Claims
                                                                                           Unsecured                              page 3
                                      UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF KANSAS
                                               WICHITA DIVISION
  IN RE:   Continental American Corporation                                        CASE NO

                                                                                  CHAPTER     11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/22/2023                                          Signature   /s/ Daniel A. Flynn
                                                                    Daniel A. Flynn
                                                                    Chief Executive Officer




Date                                                    Signature




                         Case 23-10938         Doc# 1      Filed 09/22/23         Page 109 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


1000Bulbscom                                    American Express                         Assured Occupational Solutions
2140 Merritt Dr                                 PO Box 650448                            PO Box 783
Garland TX 75041                                Dallas TX 75265-0448                     El Dorado KS 67042



ACC Business                                    Ametek                                   AT & T
PO Box 5077                                     Box #2751                                PO Box 5019
Carol Stream IL 60197-5077                      PO Box 8500                              Carol Stream IL 60197-5019
                                                Philadelphia PA 19178


Acme Dock Specialist Inc                        Anagram International Inc                AT&T Mobility
PO Box 414230                                   7700 Anagram Dr                          PO Box 6416
Kansas City MO 64141-4230                       Eden Prairie MN 55344                    Carol Stream IL 60197-6416



Acquia Inc                                      Angsana Investments                      Atmos Energy
PO Box 674660                                   17A Trevose Crescent                     PO Box 630872
Dallas TX 75267-4660                            Singapore 298094                         Cincinnati OH 45263



ADT dba Protection One                          Anna K Flynn                             Avient Corp
PO Box 219044                                   1710 N Duckcross Cv                      Box 223554
Kansas City MO 64121-9044                       Wichita KS 67206                         Pittsburgh PA 15251-3554



Advanced Sustainable Polymers Pte Anthony
                                   Ltd    Marrone                                        Bearco Inc
3 Shenton Way                     336 Wings Circle                                       PO Box 560731
#15-01 Shenton House              Sunrise Beach MO 65079                                 Dallas TX 75356
Singapore 068805


Airco Gases Southwest LLC        Aramark Uniform                                         Bennett Packaging PBC
dba Big 3 Gas and Supply         26792 Network Pl                                        PO Box 411145
Allied Welding Welders Warehouse Corp
                                 Chicago IL 60673-1792                                   Kansas City MO 64141-1145
3880 Irving Blvd
Dallas TX 75247

Alecom Metal Works Inc                          Armstrong                                Berry Plastics
3301 House Anderson Rd                          PO Box 37749                             PO Box 633485
Euless TX 76040                                 Philadelphia PA 19101-5049               Cincinnati OH 45263-3485



Alexis J Evans                                  Arran Leach                              Bestway International Inc
1747 N Holland Ln                               8510 E 29th St N                         10502 NW Ambassador Dr Ste 120
Wichita KS 67212                                Wichita KS 67226-2216                    Kansas City MO 64153



American Color Technology LLC                   ASI-Advertising Specialty                Bilwinco
908 NW Vesper St                                PO Box 15017                             555 Main St
Blue Springs MO 64015                           Wilmington DE 19886-5017                 Racine WI 53403



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 110 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


Blue Cross and Blue Shield                      Calvary Industries Inc                   Cirus Water Roaster Joes
1133 SW Topeka Blvd                             PO Box 713868                            8225 W Irving
Topeka KS 66629-0001                            Cincinnati OH 45271-3868                 Wichita KS 67209



Boesen Plumb Elevator Solutions BPES
                                 CamSoft Corp                                            CIT Bank NA
dba Schindler Elevator Corp      21445 Bundy Canyon Rd                                   10201 Centurion Parkway North
PO Box 93050                     Wildomar CA 92595                                       Suite 100
Chicago IL 60673-3050                                                                    Jacksonville, FL 32256


Brecoflex Co LLC                                Capitol Area Energy                      Citi Cards
222 Industrial Way W                            14141 W Hwy 290 Bldg 600                 PO Box 78045
Eatontown NJ 07724                              Austin TX 78737-9340                     Phoenix AZ 85062-8045



Brenntag Mid-South Inc                          Carte Blanche (Bulldog)                  City of Dallas Water
3796 Reliable Pkwy                              PO Box 500                               City Hall 2D South
Chicago IL 60686                                Chichester PO20 2XZ                      Dallas TX 75277



Brenntag Southwest Inc                          CDW Direct LLC                           City of El Dorado
1520 N Barwise                                  PO Box 75723                             220 E 1st Ave
Wichita KS 67214                                Chicago IL 60675-5723                    El Dorado KS 67042



Brown & Brown                                   Central Power Systems & Services Inc
                                                                                 CK Power
BMO-88                                          PO Box 877625                    1100 Research Blvd
PO Box 1414                                     Kansas City MO 64187-7625        Saint Louis MO 63132
Minneapolis MN 55480-1414


Bruce Fraser                     Certified Laboratories                                  Claris International Inc
79-71 Macpherson Street Unit 260 PO Box 971269                                           5201 Patrick Henry Dr
Boston MA 02108                  Dallas TX 75397-1269                                    Santa Clara CA 95054



BSI Group America Inc                           CIBC Bank USA                            Cleaver Brooks Sales
Dept CH 19307                                   1200 Main St                             1956 Singleton Blvd
Palatine IL 60055-9307                          Kansas City MO 64105                     Dallas TX 75212



Butler County Treasurer                         CIBC Bank USA                            Clik Clik Systems Inc
205 W Central Ave Ste 207                       C/O CT Corporation                       218 Hachborn Rd
El Dorado KS 67042-2106                         4400 Easton Commons Way Ste 125          Brantford ON N35 7W5
                                                Columbus OH 43219


C and V Manufacturing                           Cintas First Aid & Safety                Cloud Inventory
2349 Ft Worth St Ste C                          PO Box 631025                            11101 Switzer Rd Ste 300
Grand Prairie TX 75050                          Cincinnati OH 45263-1025                 Overland Park KS 66210



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 111 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


Cole Parmer Instrument PBC                      Cowtown Express Logistics LLC            CT Corporation System
625 E Bunker Ct                                 PO Box 1077                              330 N Brand Blvd Ste 700
Vernon Hills IL 60061                           Tyler TX 75710                           Glendale CA 91203



Complete Supply Inc                             Cox Communications Kansas LLC            Dale Marsh
13821 Diplomat Dr                               PO Box 650957                            12329 Marsh Pointe Road
Dallas TX 75234                                 Dallas TX 75265                          Sarasota FL 34238



Concord Financial Advisors                      Creative Balloon Wire                    Dallas Steel Drums Inc
C/O Tom Jones                                   Sino Centre                              2214 Singleton Blvd
2543 Laurel Ln                                  582-592 Nathan Rd - Rm 804               Dallas TX 75212
Wilmette IL 60091                               Kowloon


Concordia Int'l Forwarding Corp                 Creditsafe USA Inc                       Daniel A Flynn
1155 W Devon Ste 600                            PO Box 789985                            1710 N Duckcross Cv
Itasca IL 60143                                 Philadelphia PA 19178-9985               Wichita KS 67206



Constellation DAL                               Crown Lift Trucks                        de Elliotte Co Inc
1221 Lamar Suite 750                            4000 Scientific Dr                       201 Prairie Village Drive
Houston TX 77010                                Canadian TX 79014                        PO Box 10
                                                                                         New Century KS 66031-0010


Constellation New Energy                        Crusader Chemical Co                     De Lage Landen Financial Service
PO Box 5473                                     2227 Hollins Ferry Rd                    1111 Old Eagle School Rd
Carol Stream IL 60197                           Baltimore MD 21230                       Wayne, PA 19087



Conversource                                    Crystal L Stilwell                       Dean E Norris Inc
1510 Page Industrial Blvd                       4431 Salem St                            PO Box 47719
Saint Louis MO 63132                            Wichita KS 67220-2310                    Wichita KS 67201



Conwin Carbonic Co                              CSI Leasing Inc                          Debra J Davis
730 Salem St                                    9990 Old Olive Street Rd                 8865 E Baseline Rd Apt 1335
Glendale CA 91203                               Saint Louis MO 63141                     Mesa AZ 85209



Corporation Service Company                     CSI Leasing Inc                          Delfina R Adair
PO Box 2576                                     9990 Old Olive Street Road               119 High St
Springfield IL 62708                            Saint Louis, MO 63141                    El Dorado KS 67042-1633



Corrie MacColl N America Inc                    CT Corporation                           Dentons US LLP
150 Boush Street 8th Floor                      4400 Easton Commons Way Ste 125          4520 Main St Ste 1100
Norfolk VA 23510                                Columbus OH 43219                        Kansas City MO 64111



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 112 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


DFW Landscaping Services                        Eagle National Steel Ltd                 Endflex LLC
2601 Iroquois St                                540 Skyline Dr                           4760 NW 128 St
Dallas TX 75212                                 Hutchins TX 75141                        Opa Locka FL 33054



Digital Office Systems                          Eagle Sensors & Controls                 ENG USA
530 S Hydraulic St                              2967 Nationwide Pkwy Ste 1               dba ENG USA
Wichita, KS 67211                               Brunswick OH 44212                       55 W Monrow St Ste 2575
                                                                                         Chicago IL 60603


Dischem International Inc                       Eagle Specialty                          Equipment Depot of Dallas Inc
4552 Strausser St NW                            PO Box 5310                              PO Box 20187
North Canton OH 44720                           Saint Louis MO 63115-9998                Waco TX 76702-0187



Disney Consumer Products         Earle M Jorgensen Company                               Estes Express Lines
Bank of America Lockbox Services 75 Remittance Dr Ste 6460                               PO Box 77003
PO Box 50735                     Chicago IL 60675-6460                                   Minneapolis MN 55480-7703
Los Angeles CA 90012


Disney Consumer Products         El Dorado Ace Hardware                                  Evergreen Pallet LLC
Bank of America Lockbox Services 609 N Main                                              CDS Business Services Newtek
File 50735                       El Dorado KS 67042                                      500 7th Ave
Los Angeles CA 90012                                                                     New York NY 10018


Disney Consumer Products-Canada Contract
                                 El Dorado Correctional Facility                         Evergy
500 S Buena Vista St             PO Box 311                                              PO Box 219089
Burbank CA 91521                 El Dorado KS 67042-0311                                 Kansas City MO 64121-9089



Distributor Central LLC                         Embassy Suites Dallas                    Evoqua Water
1200 Energy Center Dr                           2727 N Stemmons Fwy                      4800 Northpoint Pkwy Ste 250
Gardner KS 66030                                Dallas TX 75207                          Alpharetta GA 30022



Do It                                           Emilys Bubble Plant                      Expeditors Int'l MCI
PO Box 592                                      5000 E 29th St North                     10749 NW Ambassador Dr
South Haven MI 49090                            El Dorado KS 67042                       Kansas City MO 64153



Donlevy Litho                                   Empower                                  F H Interamerica LLC
PO Box 1298                                     PO Box 755                               4430 Trade Center Blvd
Wichita KS 67201                                Boston MA 02117-0755                     Laredo TX 78045



Eagle Fluid Power Inc                           Empower                                  Farmer Brother Coffee
PO Box 1624                                     PO Box 755                               PO Box 934237
Lees Summit MO 64063                            Boston MA 02117-0755                     Atlanta GA 31193



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 113 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


Fastenal                                        Fujifilm                                 Green Pasture Lawn & Tree
2502 W Central                                  1101 W Cambridge Circle Dr               7766 SW River Valley Rd
El Dorado KS 67042                              Kansas City KS 66110-2914                Augusta KS 67010



FedEx                                           Fusionbox                                GS1 US
PO Box 94515                                    2031 Curtis St                           Dept 781271
Palatine IL 60094-4515                          Denver CO 80205                          PO Box 78000
                                                                                         Detroit MI 48278-1271


FedEx Freight East                              Gabriel Group                            GT Midwest
Dept CH                                         dba Gabriel Group an OSG Co              2202 South West Street
PO Box 10306                                    PO Box 1000                              Wichita KS 67213
Palatine IL 60055-0306                          Southeastern PA 19398-1000


Fernandez Hinojosa                              Gage Machine Tool                        GT Midwest Div of GT Sales
14420 Maquila Loop                              10668 Widmer                             P O Box 755
International Trade Center                      Lenexa KS 66215                          Wichita KS 67201-0755
Laredo TX 78045


Fire Protection Services Inc                    Giant Finishing Inc                      GTT Communications Inc
1117 N Santa Fe                                 600 W Factory Rd                         7900 Tysons One Place Ste 1450
Wichita KS 67214                                Addison IL 60101                         McLean VA 22102



First Citizens Bank                             Glenroy Inc                              H Wayne Roberts
21146 Network Pl                                PO Box 534                               43 Balmoral Trail
Chicago IL 60673-1211                           W158 N9332 Nor-X-Way                     Bozeman MT 59718
                                                Menomonee Falls WI 53051


Fisher Scientific                               Global Electronic Services Inc           Hartfiel Automation Inc
308 Ridgefield Ct                               5325 Palmero Ct                          8017 Flint St
Asheville NC 28806                              Buford GA 30518                          Overland Park KS 66214



Five Star Mechanical Inc                        Global Equipment Co                      Hawk Ridge Systems LLC
1707 S Hoover Rd                                29833 Network Pl                         575 Clyde Ave Ste 420
Wichita KS 67209                                Chicago IL 60673-1298                    Mountain View CA 94043



Fleet Fuels                                     Grainger - ELD                           HCL Technologies Ltd
3337 Hwy 160                                    1920 South West St                       FAO: Kishan Jaiswal
Independence KS 67301                           Wichita KS 67213-1108                    135 US Hwy 202-206



Forte Products                                  Grainger DAL                             Henry Unger Associates
1601 Airpark Dr                                 Dept 802414508                           13867 Sunset Blvd
Farmington MO 63640                             PO Box 419267                            Pacific Palisades CA 90272
                                                Kansas City MO 64141-6267


                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 114 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


Heubach Ltd                                     Inflatable Concepts                      Jim Plutt
PO Box 416247                                   13350 SW 131 St Unit 106                 9622 Yukon Cir S
Boston MA 02241-6247                            Miami FL 33186                           Minneapolis MN 55438



Hi Float                         Inflatable Concepts Joint Venture Joel Scott
13025 Middletown Industrial Blvd 13350 SW 131 St Unit 106          7601 Erie Ave
Louisville KY 40223              Miami FL 33186                    Chanhassen MN 55317



Hillsdale Development                           Inflatable Concepts Venture              John Hancock
PO Box 187                                      13350 SW 131 St Unit 106                 PO Box 7247-0274
Ashland, OH 44805                               Miami FL 33186                           Philadelphia PA 19170-0274



HYG Financial Services Inc                      Interamerica Forwarding                  Johnson Controls
PO Box 35701                                    14420 Maquila Loop                       PO Box 371967
Billings, MT 59107                              International Trade Center               Pittsburgh PA 15250-7967
                                                Laredo TX 78045


IBM Corporation KS                              Interflex Laser Engravers                K-Mitch LLC
PO Box 679358                                   175 Tradd St                             2900 W 71st St
Dallas TX 75267-9358                            Spartanburg SC 29301                     Prairie Village KS 66208



IBM Credit LLC                                  Internal Revenue Service                 Kansas Correctional Industries
One North Castle Drive                          PO Box 7346                              PO Box 2
Armonk NY 10504                                 Philadelphia PA 19101-7346               Lansing KS 66043



Indigo America Inc                              Intertek Testing Services                Kansas Department of Revenue
5555 Windward Pkwy                              2/F Garmet Centre                        Civil Tax Enforcement
Alpharetta GA 30004                             576 Castle Peak Rd                       PO Box 12005
                                                Kowloon                                  Topeka KS 66601-3058


Industrial Crating Inc                          iSi (Integrated Solutions)               Kansas Electric Inc
PO Box 248                                      215 S Laura                              1420 NW 36th
413 Front St                                    Wichita KS 67211                         Newton KS 67114
Saint Paul KS 66771


Industrial Equipment                            Jagbir S Dhillon                         Kansas Gas Service
PO Box 14790                                    5267 N Rock Spring St                    PO Box 219046
Houston TX 77221-4790                           Wichita KS 67226                         Kansas City MO 64121-9046



Industrial Repair Service                       JHB Investments                          Kellfab Inc
2650 Business Dr                                PO Box 47                                1003 Treetop Trail Dr
Cumming GA 30028                                El Dorado KS 67042                       Manchester MO 63021-7720



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 115 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


KKSG & Associates Inc                           Maxs Breathe Easy                        Nancy Hadaway
67 E Wilson Bridge Rd Ste201                    622 N Oil Hill Rd                        2002 Cedar Ridge Pl
Columbus OH 43085                               El Dorado KS 67042                       The Villages FL 32162-7716



Kyle Bayliff                                    McMaster Carr Supply                     Nolan Collins
14100 E Sport of Kings Street                   PO Box 7690                              6406 E 11th Street N
Wichita KS 67230                                Chicago IL 60680-7690                    Wichita KS 67206



Lease Finance Partners Inc                      Midwest Single Source Inc                Norma Roberts
4825 E Douglas Ste 400                          PO Box 49380                             43 Balmoral Trail
Wichita KS 67218                                Wichita KS 67201-9380                    Bozeman MT 59718



Lease Finance Partners Inc                      Mine Safety Appliances Co LLC            Nortech Graphics Inc
PO Box 20140                                    1000 Cranberry Woods Dr                  14950 Industrial Park Dr
Wichita, KS 67208-1140                          Cranberry Township PA 16066              Lead Hill AR 72644



Liberty Pallets                                 MKM Janitorial Services LLC              Northstar Balloons
dba Liberty Pallets Service                     2108 Blossom Ln                          17100 Medina Rd Ste 800
PO Box 540353                                   Richardson TX 75081                      Minneapolis MN 55447
Dallas TX 75354


Liberty Ribbon & Packaging LLC                  Mobile Mini Inc                          Northstar Balloons
PO Box 2480                                     PO Box 79149                             17100 Medina Road Suite 800
1970 Old Cuthbert Rd #220                       Phoenix AZ 85062-9149                    Plymouth MN 55317
Cherry Hill NJ 08034


Linde Gas & Equipment Inc                       Morris Packaging MN LLC                  Northwestern Mutual
dba Praxair                                     17100 Medina Rd Ste 800                  PO Box 3009
PO Box 120812 Dept 0812                         Minneapolis MN 55447                     Milwaukee WI 53201-3009
Dallas TX 75312-0812


Marvel Entertainment                            MSC Industrial Supply Co                 OEC Graphics
500 S Buena Vista St                            28551 Laura Court                        7630 S Quincy St
Burbank CA 91521                                Elkhart IN 46517-1179                    Willowbrook IL 60527



Mary Hinsperger                                 Mutual of Omaha                          Old Dominion
5 Emerald Dr                                    Payment Processing Ctr                   PO Box 841324
Eustis FL 32726                                 PO Box 2147                              Dallas TX 75284-1324
                                                Omaha NE 68103-2147


Matheson Tri-Gas Inc                            NACM North Central                       Omya Specialty Materials Inc
Dept 3028                                       8441 Wayzata Blvd Ste 270                4605 Duke Dr Ste 700
PO Box 123028                                   Minneapolis MN 55426                     Mason OH 45040
Dallas TX 75312


                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 116 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


Online Labels LLC                               Phifer Wire Products                     PromoCornercom
2021 E Lake Mary Blvd                           PO Box 945823                            PO Box 505
Sanford FL 32773                                Atlanta GA 30394-5823                    Middleboro MA 02346-0505



Oracle America                                  Pioneer Automation Technologies LLC
                                                                                 Public Works & Utilities
PO Box 203448                                   1220 N Haverhill Rd              PO Box 2922
Dallas TX 75320-3448                            El Dorado KS 67042               Wichita KS 67201-2922



Orkin                                           Pioneer Automation Technologies LLC
                                                                                 Publication Printers Corp
3601 NE Loop 820 Ste 100                        1220 N Haverhill Rd              2001 S Platte River Dr
Fort Worth TX 76137                             El Dorado, KS 67042              Denver CO 80223



Orkin Pest Control                              Pioneer National Latex Inc               Pure Water Partners LLC
1555 E 2nd St N                                 5000 E 29th St North                     PO Box 24445
Wichita KS 67214-4121                           Wichita KS 67220                         Seattle WA 98124-0445



Orpalis                                         Pitney Bowes Global Financial Services
                                                                                 Purvis Bearing Service
A PSPDFKit Co                                   PO Box 981022                    PO Box 540757
Le Verdi 52 rue de Marclan                      Boston, MA 02298                 Dallas TX 75354-0757
Muret France 31600


Overhead Door Co                                Plan Tech Inc                            Pye Barker Fire & Safety LLC
1901 E 119th St                                 7031 Shaker Rd Box J                     PO Box 714812
Olathe KS 66061                                 Loudon NH 03307                          Cincinnati OH 45271-4812



Packaged Systems Inc                            Polymount US LLC                         Quadient Finance
PO Box 195787                                   126 W Bledsoe Rd                         dba Neofunds Total Funds
Dallas TX 75219-5787                            Newnan GA 30265                          PO Box 6813
                                                                                         Carol Stream IL 60197-6813


Page Boiler Inc                                 Premium Balloon                          Quality Compressor Mgmnt Inc
PO Box 605                                      6935 Ridge Rd                            c/o SS Brown Funding Inc
Nevada TX 75173                                 PO Box 352                               PO Box 1267
                                                Sharon Center OH 44274-0352              Mansfield TX 76063


Palimoda Properties LLC                         Prime Molding Technologies Inc           Quality Extrusion Inc
PO Box 3414                                     3765 Investment Ln                       1904 Willow St
Easton PA 18043-3414                            West Palm Beach FL 33404                 Mankato MN 56001



Penske Truck Leasing Co LP                      ProActive Work Health Services           R & B Leasing
PO Box 802577                                   3141 Irving Blvd Ste 220                 14631 SW Clover Ln
Chicago IL 60680-2577                           Dallas TX 75247                          Rose Hill KS 67133



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 117 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


R + L Carriers                                  Rodriguez Printing                       Service Corporation of NACM
PO Box 10020                                    PO Box 224022                            8840 Columbia 100 Parkway
Port William OH 45164-2000                      Dallas TX 75222                          Columbia MD 21045



R + L Truckload Services                        Ronald E Prater                          Shred-it Wichita
BOA Lockbox 74008195                            dba PDC                                  28883 Network Pl
Chicago IL 60674-8195                           16245 41st Ave NE                        Chicago IL 60673-1288
                                                Seattle WA 98155


Radwell International Inc                       Roto-Die Co Inc                          Silva Itamar
1 Millennium Dr                                 800 Howerton Ln                          PioneerBalloon-South America Sal
Willingboro NJ 08046-1000                       Eureka MO 63025                          Rua Schilling 413 cj 301
                                                                                         Brattleboro VT 05302-001


Ramco Innovations Inc                           RS Americas Inc                          Sirius Computer Solutions Inc
1207 Maple St                                   dba RS                                   PO Box 911485
West Des Moines IA 50265                        7151 Jack Newell Blvd S                  Dallas TX 75391-1485
                                                Fort Worth TX 76118


Randy Smith                                     Rudolph Bros & Co                        Skarda Equipment Co
1306 SW Logos Dr                                6550 Oley Speaks Way                     PO Box 3568
Lees Summit MO 64081-2304                       Canal Winchester OH 43110                Omaha NE 68103



ReadyRefresh by Nestle           Russell A Farrow                                        SmarterCommerce
a Div of Nestle Waters N America Inc
                                 PO Box 441364                                           11455 SW 40th St Ste 144
PO Box 856192                    Detroit MI 48244-1364                                   Miami FL 33165
Louisville KY 40285-6192


Renne Fink                                      Safety-Kleen Corp                        Soo Chin Goo
4106 Gloria Lane                                PO Box 975201                            70 BK 5/12 Bandar Kinrara
Bethlehem PA 18017                              Dallas TX 75397                          Puchong
                                                                                         Selangor 47180
                                                                                         Malaysia

Renne Fink                                      SAGE                                     Southwest Engineers
3005 Brodhead Rd Ste 293                        16301 Quorum Drive                       PO Box 2499
Bethlehem PA 18017                              Addison TX 75001                         Slidell LA 70459



Review Studio Inc                               Sams Club                                Spectra Colorants
3 Place Ville Marie Ste 400                     PO Box 530981                            228 Industrial Park Rd
Montreal H3B 2E3                                Atlanta GA 30353-0981                    Union SC 29379



Road Runner Recycling Inc                       Security Life of Denver                  Spectrum
PO Box 6011                                     5627 Innovation Way                      PO Box 60074
Hermitage PA 16148                              Chicago IL 60682-0056                    City of Industry CA 91716-0074



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 118 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


SPS Commerce                                    Sunrise Oilfield Supply                  Teladoc Inc
PO Box 205782                                   PO Box 3423                              PO Box 24004
Dallas TX 75320-5782                            Wichita KS 67201                         New York NY 10087-4004



SPX Flow US LLC                                 Susan Bastin Facklam                     Thampi P M
PO Box 277886                                   950 Fontana Lane                         2 B Marthas Place 5th Cross
Atlanta GA 30384                                Linn Creek MO 65052                      5B Lavelle Road
                                                                                         Bangalore 560 001


Stanley D Weir                                  Susan D Dhillon                          The Balloon Council
14514 W Sheriac Cir                             5267 N Rock Spring St                    c/o Daniel A Flynn
Wichita KS 67235                                Wichita KS 67226                         Pioneer Balloon Company
                                                                                         5000 E 29th Street N
                                                                                         Wichita KS 67220

Staples Advantage                               Takara Kosan Co Ltd                      The Kish Company Inc
PO Box 660409                                   3/F Farmstone Building                   PO Box 76158
Dallas TX 75266-0409                            5-27-4 OMORI-NISHI                       Cleveland OH 44101-4755
                                                Tokyo 143-0015


Stinson LLP                                     Takara Kosan Co Ltd                      Theodore William Vlamis
PO Box 843052                                   3F/Farmstone Building                    5230 E 29th St N
Kansas City MO 64184-3052                       5-27-4 OMORI-NISHI                       Wichita KS 67220
                                                Tokyo 143-0015


Stuart Hose and Pipe Co                         Team Viewer                              Theresa Stokes
2621 Irving Blvd                                PO Box 743135                            dba Balloon Lady Houston
Dallas TX 75207                                 Atlanta GA 30374                         2814 Hazy Hillside Ct
                                                                                         Kingwood TX 77345-2222


Studio Pets                                     Technical Products Inc                   Tiarco
Aalsmeerderweg 28-1                             3500 Ridge Road                          PO Box 281995
Aalsmeer 1432CN                                 Cleveland OH 44102                       Atlanta GA 30384



Sudpack                                         Ted A Vlamis                             Tim A Vlamis
Jagerstrabe 23                                  901 Tara Ln                              8315 NW Hillside Drive
Ochsenhausen 88416                              Wichita KS 67206                         Kansas City MO 64152



Sun Chemical                                    Ted and Betty Vlamis                     Titan HQ
5000 Spring Grove Ave                           5000 E 29th St North                     c/o Copperfasten Technologies
Cincinnati OH 45232                             Wichita KS 67220                         1st Fl Mazars Pl
                                                                                         Salthill G H91 YFC2


Sunbelt Material Handling                       Ted J Vlamis                             TK Innovations Inc
1617 Terre Colony Ct                            6 N Brookfield Rd                        PO Box 2792
Dallas TX 75212                                 Wichita KS 67206-2005                    Kailua Kona HI 96745



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 119 of 122
 Debtor(s): Continental American Corporation      Case No:                                             DISTRICT OF KANSAS
                                                   Chapter: 11                                             WICHITA DIVISION


Toray Plastics                                  United Testing Systems                   Veeam Payment Solutions
Lockbox Operations #654034                      40 McCullough Dr                         2330 I-30
Dallas TX 75265-4034                            New Castle DE 19720                      Mesquite, TX 75150



ToTex Corporation                               Univar USA Inc                           Verizon Wireless
International Division                          62190 Collections Center Dr              PO Box 16810
Fujibiru Shintoshinkan 4F                       Chicago IL 60693                         Newark NJ 07101-6810



Transamerica Life Ins Co                        Univar USA Inc - ELD                     Verizon Wireless
PO Box 653009                                   62190 Collections Center Dr              500 Technology Dr #550
Dallas TX 75265-3009                            Chicago IL 60693                         Saint Charles MO 63304-2225



Tru-B-Loons and Party Decor LLC UPS Supply Chain Sol Inc                                 VFI ABS 2022-1 LLC
dba Tru-B-Loons Event and Party Decor
                                 PO Box 730900                                           2800 East Cottonwood Parkway 2nd
18113 Kitchen House Ct           Dallas TX 75373-0900                                    Salt Lake City UT 84121
Germantown MD 20874


TUV SUD                                         US Attorney Wichita                      VFI KR SPE I LLC
Shanghai Branch                                 1200 Epic Center                         2800 East Cottonwood Parkway 2nd
No 1999 Du Hui Rd                               301 N Main                               Salt Lake City UT 84121
Shanghai 20118                                  Wichita KS 67202


Uline Shipping Supply                           US Department of Agriculture             VFI KR SPE I LLC
PO Box 88741                                    Office of the General Counsel            2800 East Cottonwood Parkway 2nd
Chicago IL 60680-1741                           PO Box 419205                            Salt Lake City, UT 84121
                                                Mail Stop 1401
                                                Kansas City MO 64141-6205

Underground Vaults & Storage                    US Road Freight Express Inc              Viacom International Inc
PO Box 1723                                     PO Box 9070                              1515 Broadway
Hutchinson KS 67504-1723                        Wichita KS 67277-0070                    New York, NY 10036



UniFirst Corp                                   US Small Business Administration Viacom Media Networks
PO Box 650481                                   District Counsel                 1515 Broadway
Dallas TX 75265-0481                            10675 Bedford Ave Ste 100        New York NY 10036
                                                Omaha NE 68127


United Parcel Service                           Varilease Finance Inc EFT                Videojet Technologies Inc
PO Box 809488                                   2800 E Cottonwood Pkwy 2nd Fl            12113 Collection Center Dr
Chicago IL 60680-9488                           Salt Lake City UT 84121                  Chicago IL 60693



United States Plastic Corp                      Veeam Payment Solutions                  Vlamis Enterprises LLC
1390 Neubrecht Rd                               2330 I-30                                5000 E 29th St North
Lima OH 45801                                   Mesquite TX 75150                        Wichita KS 67220



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 120 of 122
 Debtor(s): Continental American Corporation      Case No:                                          DISTRICT OF KANSAS
                                                   Chapter: 11                                          WICHITA DIVISION


Vlamis Enterprises Wichita LLC                  World Trade Council of Wichita
5000 E 29th St North                            CIBA Barton School of Business
Wichita KS 67220                                WSU Clinton Hall 034
                                                Wichita KS 67260-0088


W D Cleaning Inc                                X-Rite Inc
501 E 69th St N                                 Lockbox 62750
Wichita KS 67219                                62750 Collection Center Dr
                                                Chicago IL 60693-0627


Waste Connections                               Younkin Logistics
Lone Star Inc                                   PO Box 325
PO Box 679859                                   Ashland OH 44805
Dallas TX 75267-9859


Wells Fargo Bank NA
300 Tri State International Ste 400
Lincolnshire, IL 60069



Wells Fargo Equipment Finance
Equipment and Vendor Finance
PO Box 77101
Minneapolis MN 55480


WEX Health Inc
PO Box 9528
Fargo ND 58106-9528



White Oak Commercial Finance LLC
1155 Avenue of the Americas
New York NY 10036



Wichita Chapter of NACM
200 S Ridge Road
Hesston KS 67062



Wichita Shredding LLC
1930 N Ohio
Wichita KS 67214



Windmoeller and Hoelscher
23 New England Way
Lincoln RI 02865



                                Case 23-10938     Doc# 1         Filed 09/22/23   Page 121 of 122
                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF KANSAS
                                                    WICHITA DIVISION
    IN RE:                                                                         CHAPTER       11
    Continental American Corporation



    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 Corrie MacColl Holdings, Inc.                                     Class A Preferred          3,000                      Non Voting

 Mary E Vlamis Irrevocable Trust 2                                 Class B                    812,177                    Non Voting

 Mary E Vlamis Irrevocable Trust 3                                 Class B                    1,360,569                  Non Voting

 Mary Elizabeth Vlamis Revocable Trust                             Class A / Class B          51,163 / 2,776,091         Voting / Non Voting

 Takara Kosan Co., Ltd                                             Class A / Class B          5,386 / 520,930            Voting / Non Voting

 Theodore A. Vlamis Irrevocable Trust 2                            Class B                    812,177                    Non Voting

 Theodore A. Vlamis Irrevocable Trust 3                            Class B                    1,360,569                  Non Voting

 Theodore A. Vlamis Revocable Trust                                Class A / Class B          51,163 / 2,776,091         Voting / Non Voting

 Vlamis Enterprises Wichita, LLC                                   Class B Preferred          5,733                      Non Voting

 Vlamis Enterprises, LLC                                           Class B Preferred          3,205                      Non Voting

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                Chief Executive Officer                    of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       9/22/2023
Date:__________________________________                            /s/ Daniel A. Flynn
                                                        Signature:________________________________________________________
                                                                   Daniel A. Flynn
                                                                   Chief Executive Officer




                            Case 23-10938            Doc# 1        Filed 09/22/23         Page 122 of 122
